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                         In The Matter Of:
                       Selena Howard, et al. v
                        Forrest County, et al.




                           Darious Leggett
                           April 27, 2020




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                     DATE: APRIL 27, 2020
16              PLACE: ZOOM VIDEO CONFERENCE               16
                       TIME: 9:35 a.m.
17                                                         17
18                                                         18
19                                                         19
   REPORTED BY: AMANDA MAGEE WOOTTON
20                CSR #1238                                20
21 ________________________________________________        21
22                                                         22
                        AW Reporting
23                 amanda@awreporting.net                  23
                   338 Indian Gate Circle
24              Ridgeland, Mississippi 39157               24
                         601.573.0961
25                                                         25

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 6                                                          6
             Daniel M. Waide, Esquire
 7           Johnson, Ratliff & Waide, PLLC                 7
             P. O. Box 17738
 8           Hattiesburg, Ms 39404                          8
             dwaide@jhrlaw.net
 9                                                          9
10           Mary Lee Holmes, Esquire                      10
             Holmes, McLelland & Ferraez, PLLC
11           601 E Central Avenue                          11
             Petal, Mississippi 39465-2974
12           marylee@hmflawfirm.com                        12
13                                                         13
14                                                         14
15                                                         15
16                                                         16
17                                                         17
18                                                         18
19                                                         19
20                                                         20
21 _____________________________________________________   21
22                   AMANDA MAGEE WOOTTON                  22
                         AW REPORTING
23                  338 Indian Gate Circle                 23
                Ridgeland, Mississippi 39157
24                      (601) 898-9990                     24
25                                                         25


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 1             * * * * * *                                  1 here to talk today about the incident with Forrest
 2             DARIOUS LEGGETT,                             2 County deputies on September 2017, correct?
 3 after having first been duly sworn, was                  3    A Correct.
 4 examined and testified under oath as follows,            4    Q If I said the date of the incident was
 5 to-wit:                                                  5 September 27, 2017, you wouldn't disagree with that?
 6            EXAMINATION                                   6    A No, I wouldn't disagree.
 7 EXAMINATION BY MS. SMITH:                                7    Q Okay. Have you done anything to prepare for
 8    Q Hey, Darious, my name is Christina. I               8 your deposition today?
 9 represent the county and Chey Sumrall and Blake Bass.    9    A Besides talk with my attorney beforehand.
10 I just have a few things to ask you really quick        10 Other than that, no, ma'am.
11 before we get started.                                  11    Q You didn't look at any documents?
12         Have you ever been deposed before?              12    A No, ma'am.
13    A What is that?                                      13    Q Okay. Have you ever been involved in any
14    Q Have you ever had a deposition like you're         14 civil lawsuits?
15 in right now?                                           15    A No. I haven't.
16    A No, ma'am.                                         16    Q Okay. Have you ever been arrested before?
17    Q Okay. So you've never been deposed. So             17    A No, ma'am.
18 just some really quick rules. I know this is kind of    18    Q Can you tell me about your educational
19 weird; we don't really do it this way with video, but   19 background? Do you have a GED, or did you have a high
20 just answer out loud so the court reporter can take     20 school diploma?
21 down everything you say, answer verbally. I know        21    A I have a high school diploma. I graduated
22 sometimes we nod or shake our heads. Just make sure     22 from Forrest County High School. I also attended
23 that you say "yes" or "no."                             23 Pearl River. I graduated from there and got my
24         And you're under oath, like you would be in     24 associate's degree. And I attended Mississippi
25 court, so this is sworn testimony, so just answer       25 College. I'm not through with my bachelor's, but I'm


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 1 truthfully. And if you have a question about what I'm    1 like at the final semester of it.
 2 asking you, just ask me to rephrase it, or if you        2    Q So you have your high school diploma from
 3 don't understand, just tell me, "I don't understand."    3 Forrest County, and then you went to Pearl River
 4 And I'll try to ask a better question.                   4 Community College?
 5    A Yes, ma'am.                                         5    A Yes, ma'am, and got my associate's.
 6    Q And if you need a break also, just let us           6    Q Okay. And then you went to Mississippi
 7 know, and we'll just take a break, okay?                 7 College?
 8    A Yes, ma'am.                                         8    A Yes, ma'am. Started my bachelor's.
 9    Q I'm sorry. Go ahead.                                9    Q Okay. Did you ever know Blake Bass or Chey
10    A Yes, ma'am.                                        10 Sumrall before this incident?
11    Q You said, "Yes, ma'am"?                            11    A I never knew Chey Sumrall. But me and Blake
12    A That's it.                                         12 were former teammates, you know, played on the same
13    Q So are you on any medication today that            13 football team for Forrest County. So that's how I
14 makes it difficult to answer?                           14 knew him, but not -- nothing out of school.
15    A No, ma'am.                                         15    Q So you knew him in high school, Blake?
16    Q Okay. What is your full name, for the              16    A Right.
17 record?                                                 17    Q Okay. Where do you currently reside?
18    A Darious Deshawn Trent Leggett.                     18    A I live in Hattiesburg, Mississippi. But the
19    Q Can I call you Darious?                            19 area I stay in is Dixie, and the address is 1348 Elk
20    A Yes, ma'am. That's fine.                           20 Lake Road.
21    Q How old are you Darious?                           21    Q Is that the same address that the incident
22    A I'm 24 years old.                                  22 occurred at?
23    Q What was your date of birth?                       23    A Yes, ma'am.
24    A 4/2/96, April 2nd, 1996.                           24    Q Okay. How long have you lived there?
25    Q 1996. Just so we're on the same page, we're        25    A Stayed there for about five years.

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 1      Q Okay. You're still there, though, right?         1 MS. SMITH: (Continuing.)
 2      A Yes.                                             2    Q Southern Hens?
 3      Q Okay. Who owns the property?                     3    A Yes, ma'am. Southern Hens. It's located in
 4      A The owner of the property was Shelby Rogers.     4 Moselle.
 5      Q Was Shelby? Does she still own it?               5    Q How long have you been working there?
 6      A Well, they recently -- well, he recently         6    A About three months.
 7   just sold the property.                               7    Q Were you working during the time of the
 8      Q Okay. It's a boy?                                8 incident?
 9      A Yes.                                             9    A Honestly, I was going to school at the time
10      Q Who has lived there with you?                   10 of the incident at William Carey, and I couldn't take
11      A Me and my girlfriend. She's been my             11 my finals because this happened, this situation.
12   girlfriend for nine years. Also my mom was staying   12    Q So you didn't miss any work due to the
13   there with me at the time. But other than that, my   13 incident?
14   niece and her sister. That's it.                     14    A I did. I had to withdraw from school from
15      Q Okay. So just to clarify, Selena Howard,        15 William Carey.
16   your girlfriend --                                   16    Q Okay. Did you just withdraw for that
17      A Yes.                                            17 semester?
18      Q -- was staying with you. Your mom was           18    A They -- they do trimesters. But the fact
19   staying with you during the incident?                19 that it was like the final exams for my classes, and I
20      A Yes.                                            20 wasn't able to make it up. They wouldn't let me make
21      Q And Selena Howard's sister, what's her name?    21 it up because I had to go to the hospital, and stuff,
22      A Patricia Howard.                                22 that morning. And I informed the officers of all of
23      Q Patricia Howard. And her niece is               23 that when everything was taking place.
24   Patricia's daughter?                                 24    Q Okay. Because it is trimester, so the
25      A Yes.                                            25 finals are in September?


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 1      Q What is her name?                                1      A Right. So I couldn't do it over again.
 2      A Isabella Thomas.                                 2      Q Okay. So I just want to talk about the date
 3      Q How old is she?                                  3   prior to the incident. Did anybody come on the
 4      A She just recently turned five.                   4   property to try to go to the cemetery?
 5      Q Okay.                                            5      A The date prior to the incident, we had an
 6      A She was about three when the incident            6   older couple. An older couple had done came onto the
 7   happened. She was there.                              7   property and asked to see the graveyard. Our -- like
 8      Q Okay. So you're not currently married?           8   our part of being -- you know, leasing the land,
 9      A No.                                              9   Shelby told us if we had anybody that wants to see the
10      Q Okay. Do you have any other family in           10   graveyard, they're more than welcome to as long as
11   Mississippi?                                         11   they do right by the property, you know, so...
12      A My whole family is in Mississippi. That's       12          So we told the older couple, "You guys are
13   where we are from.                                   13   more than welcome to go," right or wrong. And they --
14      Q Do you-all live in Forrest County?              14   they didn't stay back there three to five minutes.
15      A Pretty much the Forrest County area, not the    15   They drove back there, and they turned around. And
16   Dixie area. That's more or less the countryside.     16   then they asked have Forrest County been coming back
17      Q Okay. Are you currently employed?               17   here lately to do maintenance on the property. And we
18      A Yes.                                            18   was like, "We haven't seen them, but -- they do, but
19      Q Okay. Where do you work?                        19   we haven't seen them recently." That's all we said to
20      A I was working -- well, I'm working for          20   them.
21   Southern Hens, a chicken factory. It was like a      21       Q So can you describe the property? It's 1348
22   chicken plant.                                       22   Elks Lake Road. Can you describe it to me?
23            COURT REPORTER: What's the name of the      23       A It's like a quarter mile and a half
24   plant?                                               24   driveway. As soon as you pull up on the property,
25            THE WITNESS: Southern Hens.                 25   it's -- it's like a dirt -- dirt gravel road. But you

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 1 cannot see the property from the road, of course,         1 because they're both shaded trees. So they have
 2 because it is surrounded by woods. It is like a           2 multiple shade and, you know, a dog house and food and
 3 wooded area, and it is like a long driveway.              3 water, you know. But they don't be on the chain like
 4         And as soon as you come up to the property,       4 all of the time. I take my dogs off the chain.
 5 it's like, once you come through the wood line and you    5    Q Okay. So there's a food and water bowl?
 6 approach the house, it is like a big field, and then      6    A Yes, ma'am.
 7 you see a cabin, and it's a whole lot of woods around     7    Q Okay. So on the day of the incident, who
 8 the area and like a trail going to the back to see the    8 was at the house that morning?
 9 graveyard.                                                9    A That morning it was me, my girlfriend, my
10     Q So you take your driveway -- you have to           10 mom, and my niece because we had recently just dropped
11 take the driveway to go see the graveyard behind your    11 her sister off at school. She is taking like some GED
12 house?                                                   12 class at that time.
13     A Yeah.                                              13    Q So you recently dropped her off where?
14     Q Is that a right-of-way of the county?              14    A To Pearl River. Pearl River had had some
15     A What you mean?                                     15 type of GED class, and her sister was taking those
16     Q Is that driveway and gravel road, is that a        16 courses.
17 right-of-way of the county to get to the cemetery?       17    Q Okay. So you had just come back to the
18     A No, it's not. It's not.                            18 house?
19     Q Okay. So the house is facing the road,             19    A Right. Right.
20 though, but you just can't see it?                       20    Q And then what happened?
21     A No, you can't see it at all completely             21    A After we came back to the home, we had
22 because it is surrounded by woods. It's a wooded         22 pulled into our driveway, like it is a normal day.
23 area, pine trees and everything.                         23 Had done walked into the house. I had my niece in my
24     Q Did the incident take place behind the             24 arms. She's asleep. But she went on the ride to drop
25 house?                                                   25 her mom off.


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 1      A No. The incident took place on the property        1         I had my niece in my arm, and I'm walking in
 2   within the premises of my cabin.                        2 the house. And as I walk into the house, my mom and
 3      Q But was it behind the cabin or in front of         3 Selena was still outside walking into the house. And
 4   the cabin?                                              4 I hear some talking outside, like some male voices.
 5      A Right there in front of the cabin, like on         5 And I'm normally the only male there, so it was kind
 6   the side of the cabin.                                  6 of weird.
 7      Q I'm just trying to get a picture of where it       7         So I hear -- I hear one of the officers say
 8   was.                                                    8 to my mom, "We -- we ought to arrest you for that
 9      A Okay.                                              9 stunt you pulled," or something like that, pertaining
10      Q Where are the dogs located?                       10 to that. And that's when I was walking back outside,
11      A The dog is located -- normally I have them        11 and I seen Blake and Chey. They -- they was on our
12   off the chain. But I have like two trees within my     12 property.
13   yard, and it's like walnut trees. So it was some       13     Q Okay. So let me just back up really
14   strong enough to hold them, so I put them on there.    14 quickly. What time do you think that you got home?
15      Q How many?                                         15     A Okay. That was about -- I would say a
16      A Two.                                              16 little bit before eight, you know, about like 7:50,
17      Q Two? So there are two dogs? And what type         17 8 o'clock.
18   of dogs are they?                                      18     Q Okay. So the officers pulled up almost
19      A They are like Pit Bull mixed with Labradors.      19 immediately after?
20      Q Okay. Have they ever bitten anybody before?       20     A Yes, like almost immediately after. We
21      A No. No. No, ma'am.                                21 wasn't there in the home five minutes.
22      Q When they were tied up, is there any shelter      22     Q Okay. So you walk in with your niece?
23   out there?                                             23     A Yes.
24      A Of course. They have -- they have a dog           24     Q And your mom and Selena are still outside?
25   house. They have food and water. They have shade       25     A Yes. But, like -- like they were trailing

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 1 behind me. But I think the reason why they didn't           1   goes through -- or 33 through some numbers?
 2 walk inside, because they see the cop cars pulling in       2             MS. SMITH: Yeah. Look, I'll just skip
 3 the driveway.                                               3   it. We'll just keep going. It's okay. It's not a
 4    Q Okay. Did the officers tell -- so when did             4   big deal.
 5 you walk out? When you heard them talking?                  5             MR. WAIDE: I've got the radio log he
 6    A Yes, when I heard -- when I heard the                  6   can look at.
 7 commotion going on with my mom. And I heard -- I            7   MS. SMITH: (Continuing.)
 8 heard him screaming -- like not screaming, but yelling      8      Q Do you see it, Darious? It's on page 36,
 9 like in a loud tone to my mom, like "I ought to arrest      9   Bates label at the bottom. It's about one, two,
10 you for that stunt you pulled in my car," you know.        10   three, four, five, six, seven down from the top.
11 I'm saying something like, "Who is that?"                  11      A Okay.
12    Q What did you do with your niece?                      12      Q It says they were dispatched, and it says,
13    A I laid her in her bed. But by the time the            13   "Animal call."
14 incident was over, she was awake, and she was at the       14      A I see it.
15 door.                                                      15      Q So would that be why they were there?
16    Q Did the officers, when you went outside,              16             MR. WAIDE: Object to the form.
17 tell you a reason why they were there?                     17             THE WITNESS: You said object?
18    A Not off back they didn't, because I was more          18             MR. WAIDE: Yeah. Object to the form.
19 or less at the point of, Why are you on my property?       19   You can answer it.
20 You know, If you've got a reason to be here, can you       20   MS. SMITH: (Continuing.)
21 show me some paperwork, you know, a warrant, or            21      Q You can still answer it.
22 something? Like, what are you doing here? What's           22      A I don't know.
23 your reason for being here at eight in the morning,        23      Q So did you say anything to the officers when
24 you know.                                                  24   you walked outside?
25    Q Okay. Do you think they had a reason to be            25             MR. WAIDE: Real quick, Christina.

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 1   there?                                                    1 Ms. Wootton, could you hear me? When I did do an
 2      A No. To be honest, I did not -- not at that           2 objection, were you able to hear me off in the
 3   time, because it's -- it's in the morning, and I don't    3 distance?
 4   think nobody just made a dog call at that -- it was       4            COURT REPORTER: I was. You were
 5   just very bizarre to me.                                  5 definitely off in the distance, but I did get that
 6      Q Let me show you -- I have an exhibit I want          6 objection.
 7   to introduce, if I can find it. Bear with me one          7 MS. SMITH: (Continuing.)
 8   second.                                                   8    Q So did you say anything to the officers when
 9             MS. SMITH: Can you do No. 12 for me?            9 you walked outside?
10   MS. SMITH: (Continuing.)                                 10    A Besides asking them what was their reason
11      Q Darious, can you see that on --                     11 for being here, no, ma'am.
12             MS. SMITH: No, not 12. That's not it.          12    Q And they never told you why?
13   Sorry. It's radio calls. Is that on there?               13    A Well, they -- they told me that it was for
14             COURT REPORTER: Do you see it?                 14 the dogs, but they didn't just say they came out to
15             MS. SMITH: No, I don't see it. I               15 take the welfare of the dogs.
16   don't see it.                                            16    Q Okay. Did they say anything to Selena at
17             COURT REPORTER: If he has it, you can          17 that time?
18   send it to me later. Do they have it?                    18    A No. They were more or less targeted towards
19             MS. SMITH: Hey, Daniel, do you have            19 me, I guess. It was -- it was weird, very -- just a
20   No. 6 that I sent you? It is Bates labeled 36.           20 weird situation. It was very hostile. It wasn't calm
21             THE WITNESS: What is it? He says,              21 from the beginning.
22   "What is it?"                                            22    Q Why would you say that?
23             MS. SMITH: I think it is called radio          23    A Because, when I walked outside, he was
24   call, and it is under Howard 36, Bates label number.     24 already yelling at my mom, talking about some other
25             MR. WAIDE: It starts on 34 and then            25 situation had done took place. And when I did address


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 1 to try to talk to him, he had this hostile attitude        1   dog off the chain, he just had like, you know, these
 2 already. So I'm taking offense, this is my home, and       2   smart remarks, you know, like, "You know you can be
 3 I have women here, nothing but women.                      3   arrested for this. You need to do this. Well, show
 4    Q Who is "he"?                                          4   me your dog." You know what I'm saying? Like -- I
 5    A From the beginning, it started off with Chey          5   don't know. Like he was just trying to play like my
 6 Sumrall. That's who I initiated my conversation with.      6   dogs are, like, malnourished, or something, something
 7    Q Where was Chey? Were they on the porch?               7   bizarre.
 8    A No, ma'am. They were standing in the grass            8      Q What did you say in response to that?
 9 in front of me, pretty much, because I walked off from     9      A In response, I told them, like, "I feed my
10 the steps before they were able to step onto my porch.    10   dogs. I feed my dogs every day. Like, I feed --
11    Q Okay. And Chey was the one talking to you?           11   like, I fed my dogs this morning before you guys
12    A Chey, and Blake was chiming in a little bit,         12   pulled up before I ever left."
13 like every now and again.                                 13           And at this point I'm telling him, like, "Do
14    Q Were they standing by their cars?                    14   you want to see my dog food? Like, I've got a big
15    A No, ma'am. They was in front of my                   15   blue tub that holds about 50, 60 pounds of dog food.
16 property, in front of my face, you know, giving           16   I can show you my dog food. I can show you my dog
17 demands, pretty much.                                     17   food."
18    Q So basically right in front of the front             18           And he was like, "Yeah, yeah, show me your
19 porch?                                                    19   dog food. Show me the GD dog food," you know, and had
20    A Yes. Not -- not the front porch. Like --             20   this -- like this hostile take towards it. So as I
21 like our cabin is designed weird, so it is like two       21   turn around and, like, as I take my dogs off the
22 sides. It is like a front porch, a side, and a back.      22   chain -- because they was hovering over me while I'm
23 So it was like -- they were more or less on the side      23   taking them off the chain and still making comments.
24 of the cabin. It wasn't directly in front of the          24           So I told them about the dog food. And as I
25 cabin.                                                    25   turned around, he was like, "Come on, let's go see the

                                                   Page 22                                                       Page 24

 1      Q Okay. So when you took offense to what the 1 dog food." So I turned around, and I started walking
 2   officers were saying, did you say anything to them?     2 towards my home, like I'm fixing to walk up the steps
 3      A Besides, "What do you want me to do? What 3 and walk through the threshold of my door. And I
 4   do you want me to do to fix this situation? You're      4 turned around, and I told them, "I know my rights.
 5   saying it is a problem with my dogs being on the        5 You don't have no right to step into my home. You can
 6   chain. I'd take them off the chain. What do you want    6 wait right here. You can sit right here." And I
 7   me to do?" Just trying to -- just trying to comply      7 don't think he liked that too much, to be honest. I
 8   with their demands and just trying to be humble with 8 think that kind of, you know, added to the situation
 9   the situation because I ain't want to escalate it.      9 to make it worse. Because when I did come back with
10      Q What were they demanding?                         10 my dog food at the threshold of my door to show him,
11      A He was saying about law -- because he --          11 he just had this nonchalant attitude like, "That ain't
12   Chey and Blake was more or less -- had an argument to 12 no dog food in there."
13   say that it is illegal for dogs to be chained to a     13        I'm like, "Yes, it is." I'm like, "I feed
14   tree, which in Mississippi we have a leash law. So 14 my dog. That's how you can tell, dog food is going
15   I'm trying to conform and just tell them, like, my     15 away. I'm running low because I feed my dog." And he
16   dogs -- like, I can have my dogs on a leash. Only      16 just had this, like, attitude. He was trying to
17   reason my dogs were on a leash is because they tore up 17 provoke me like he was trying to get me to swing at
18   my trash.                                              18 him. That's what I take because he -- he, like,
19          So, besides that, I went over there to my       19 leaned in like, "What you want to do? Do something.
20   dogs because he -- he kept demanding me, "These dogs    20 I know you want to do something. Do something. Like
21   can't be on a leash. I can do this and this to you      21 swing, you know." And my mom was right there the
22   right now because your dog is on a leash."              22 whole time, so she is seeing all of this.
23      Q Who is "he"?                                       23    Q But did he actually say that, or is that
24      A Chey. Chey, and Blake was more or less             24 what your interpretation was?
25   chiming in. So when I did go over there to take my      25    A These are his words, "Do something. I know

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 1 you want to do something. Do something."                   1 neck. But other than that, that's it.
 2    Q Okay. So let me back up really quick. So              2    Q Was that there at the time?
 3 you're by the dogs, and you take them off the leash?       3    A Yes. Yes. That was there at the time. And
 4    A Yes.                                                  4 the people that works at the animal shelter said that
 5    Q And did they have any dog food or water in            5 we was taking care of the wound, or whatever the case
 6 their bowls next to them?                                  6 may have been, that it looked like it was healing
 7    A Yes. Yes. They had -- they had water in               7 well, like that wasn't a factor.
 8 their bowls. They had two bowls, a water bowl and a        8    Q Okay. So after you let both dogs off the
 9 dog bowl for food. Water in the bowl. I can't              9 leash, you walk up to the porch, right?
10 remember if the food was in there because they            10    A Yes.
11 probably ate it. But there was definitely two bowls       11    Q To go get the food?
12 out there for both animals.                               12    A Yes.
13    Q Okay. Did Selena say anything about not              13    Q Did Deputy Sumrall ever walk into the house?
14 having enough money to buy food?                          14    A No. But he tried.
15    A Well, at that time she -- she didn't say             15    Q Okay. Where was Blake at this point?
16 didn't have enough money to buy food. But at that         16    A Blake was still at a distance, more or less
17 time I think I was in college, and she was working in     17 behind him. He was at the entrance of the porch,
18 between jobs. She had a job at Subway, or she was         18 toward the entrance of the porch while Chey was at the
19 working where she works now, because she been there       19 door.
20 for some years.                                           20    Q You mean -- when you say entrance to the
21        We did have a little rough patch, but that         21 porch, you mean steps?
22 was -- that was like despite the point because my         22    A Pretty much. Right. A couple --
23 grandad always helped and came and brought piles of       23    Q Okay.
24 dog food and just had family and friends that always      24    A He was standing on the porch, but a couple
25 helped with our animals if we did need it.                25 of ways -- like a couple of steps away from the steps.


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 1      Q So after this, you suggest showing the             1    Q Where was your mom and Selena?
 2   officers dog food in the house?                         2    A Selena was out there witnessing the whole
 3      A No, not in my house. I just offered to show        3 time. My mom was right there by the door with me.
 4   them my bucket where I keep my dog food because they    4 She was like -- I'm standing in the threshold of the
 5   said -- talking -- talking like my dogs haven't ate.    5 door, and she is on the left side of me.
 6   They was, you know, making assumption like my dogs 6         Q She's on the porch on the left side of you?
 7   haven't been fed or hadn't been eating.                 7    A Right.
 8      Q Did the dogs look skinny?                          8    Q Where is Selena? Is she on the ground, or
 9      A Well, in my opinion, no. In my opinion, no.        9 is she on the porch?
10   But we -- we had a trial, and, you know, other experts 10    A She's on the porch, but she's -- she's more
11   said that in other ways they could have been           11 over there towards by Officer Blake.
12   malnourished, but in other ways they didn't because 12       Q Okay. When you came back outside and showed
13   people run dogs. And run dogs, people that go hunting 13 them the food, you said Chey started making remarks to
14   with dogs and run dogs, they look way worse than my 14 you, correct?
15   dogs, ribcage showing. So my dogs didn't have none of 15     A Yes.
16   that.                                                  16    Q Did you get upset by those remarks?
17      Q The dogs didn't look skinny to you?               17    A Despite like what you -- like, I did have a
18      A No. They didn't have no ribcage showing.          18 reaction, but it was like -- as a take of like, "What
19   It wasn't like an indention of their bones showing out 19 you mean swing? Like, what you trying to say?" So I
20   of their -- you know, out of their fur. It wasn't.     20 wouldn't -- I wouldn't say I put my hands up like I'm
21      Q Did they have any other lesions on them?          21 trying to defend myself, but I'm like, "What is you
22      A No. But it was -- it was one -- my dog did        22 saying?" Like, I put my dog food down, and I came
23   have a mark on his neck. She was younger, she grew. 23 back outside, but I didn't -- I didn't try to get
24   She was growing big. She grew, and her collar had 24 aggressive with him.
25   made like a little -- a little lash thing around her   25    Q So you didn't get in his face?

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 1    A No. No. I -- I did none of that.                     1 official, public officials, to help us because she
 2    Q Did you start cursing at him?                        2 say, "What's going on here is not right. You know,
 3    A Yes. I was -- I was using some language. I           3 somebody needs to come help us. This is unlawful what
 4 can say that I was using some foul language.              4 they are doing."
 5    Q Okay. At that point, did Chey make any               5       And my mom is talking to my grandma. And my
 6 verbal commands towards you?                              6 grandma called the sheriff's office, Forrest County,
 7    A No. No. No, ma'am, he didn't. He just                7 the dispatch, trying to get ahold of the area,
 8 started like grabbing towards me or trying to grab me,    8 whatever. By that time -- by that time, my mom had
 9 for some odd reason. But he never made no demands.        9 done been pushed and shoved and tased, you know, by
10    Q Did Chey say that you were under arrest?            10 Chey.
11    A No, ma'am. He never said I was under arrest         11    Q Okay. So when you fall off the porch, your
12 until after I was tased and on the ground and being      12 mom calls your grandmother?
13 put into a squad car -- or ambulance.                    13    A Yes, she called my grandmother. Yes.
14    Q So he never tried to say that you're under          14    Q What's her name?
15 arrest? He never made any verbal command?                15    A Jewel Leggett.
16    A No, ma'am. He never tried to detain me.             16    Q Okay. And at what point does she try to
17    Q Okay. He never tried to detain you at all?          17 intervene?
18    A No, ma'am.                                          18    A The whole time. More or less when she's on
19    Q So did you ever jump off the porch at some          19 the phone, the whole time, she's -- she's -- she's
20 point?                                                   20 screaming and pleading, like, "Please stop. Please
21    A I didn't jump off the porch. I was more or          21 don't do this. We ain't got to do this," and just
22 less shoved, because at that point, when Chey had done   22 trying to, you know, be the humble one and defuse the
23 said all of that and my mom was trying to defuse the     23 situation, just try to defuse the situation so
24 situation and break us up, he -- I'm walking through     24 everything --
25 the -- through the threshold of my door, coming back     25    Q So -- I'm sorry.

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 1 outside, and he was more or less grabbing on me,          1    A No, you're fine.
 2 trying to grab on me just like tussling and shoving.      2    Q Okay. So she comes off the porch, correct?
 3 But my hands are like sprawled out. I'm like, "What       3    A Right.
 4 are you arresting me for? Tell me why I'm arrested.       4    Q And tries to get in between you, Chey, and
 5 What? Like, what you trying to do?" And he never          5 Blake?
 6 made a statement.                                         6    A Right.
 7        So it was like -- like Blake tried to come,        7    Q Does she physically touch the officers?
 8 I guess, help him, or whatever. But he came and put       8    A No, she didn't. She just extended her arm,
 9 his hands on me too. So it was like all three of us       9 you know, like, "Please." She's just pleading like,
10 went off the porch because they shoved me. They          10 "Please don't do this. Please don't do this," you
11 shoved me off the porch.                                 11 know. I guess just protecting her son. Mother's
12    Q Okay. So you asked them, "Am I being                12 intuition.
13 arrested?"                                               13    Q So you're saying she never -- she never
14    A Yes. And they wouldn't tell me nothing.             14 touched them, but she tried to intervene with them
15    Q Blake never said anything?                          15 arresting you?
16    A Never said nothing.                                 16    A They never just fully tried to arrest me.
17    Q Okay. So when you fall off the porch, what          17 They never stated that they were going to arrest me.
18 happens?                                                 18 She was just trying to defuse the situation because
19    A When I fell off the porch, my mom -- they           19 she thought bodily harm was going to come to me.
20 still got me pretty much in their area, like, you        20    Q Did they ask her to stop?
21 know, attention-wise, like I'm still in their            21    A Not more or less -- they was like, "Back
22 attention area, and then like Blake and Chey is right    22 up." But other than that -- but my mom -- that was
23 in my face. And my mom is panicking at this time.        23 after the fact. They was like, "Back up" when my mom
24 She is calling my grandma. She's calling my grandma,     24 got on the phone and was talking about the mayor, and
25 telling my grandma to call Toby Barker, call some        25 stuff. They was like, "Back up."


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 1      Q Did they issue any verbal commands to her?            1     Q Okay. So let me back up a little bit. Let
 2      A Not that I can remember. I can't just                 2   me back up a little bit. So you said Chey went to go
 3   remember vividly.                                          3   and do -- and what did he do to your mom?
 4      Q So how did they remove Ms. Leggett from the           4     A Chey -- Chey pushed, like he shoved -- he
 5   situation?                                                 5   shoved my mom. And she -- when she fell, she tripped
 6      A All right. How -- how it happened, my mom             6   over like a step, and her head hit the lawnmower, and
 7   was -- she tried to hop in between us to defuse the        7   she was also tased in the hand.
 8   situation. And by that time, she's still on the            8      Q What was -- what was -- was Chey saying
 9   phone, still got the phone up to her ear with her hand     9   anything to her?
10   down and like just pleading, like, "Please." The          10      A At that point, I can't just fully remember
11   phone is in her hand, and my grandmother is still on      11   because Blake was in my face, standing in front of my
12   the phone.                                                12   face, saying something to me at the time.
13          By that time, my mom -- you know, Chey and         13      Q Were you on the ground with Blake, or were
14   Blake -- because I'm still standing in my yard with my    14   you standing up?
15   hands and my legs sprawled out. And I'm like just,        15      A At first I was standing up before my mom
16   you know, hands to the sky, more or less. Like, I'm       16   fell. But once my mom fell and was tased, Chey tased
17   not doing anything. I'm not moving.                       17   my mom, and Blake tased me in the genitals. So we
18          My mom was -- was on the phone, and she was        18   both were on the ground at the same time.
19   telling my grandma who to call, or whatever. And Chey     19      Q So Chey pointed the taser at your mother,
20   tried to come, I guess -- I don't know what he tried      20   correct?
21   to do to her, but I guess he tried to arrest her. And     21      A Correct.
22   he pushed -- he shoved and pushed her first. And when     22      Q And what happened after? It shot prongs
23   he shoved and pushed her, I seen my mom trip like over    23   out?
24   a step. She tripped over the step, and she -- her         24      A Yes. It shot prongs out into her hand.
25   head hit the lawnmower. And, like, she still had a        25      Q Okay. And how long did he tase her; do you

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 1 grip on her phone, and stuff, but her head hit the           1 know?
 2 lawnmower. And when it hit the lawnmower, Blake is           2    A I'm not sure because at the same time
 3 still standing in front of me, and I see Blake. But          3 simultaneously as Chey tased my mom, Blake tased me.
 4 at that time I see him with, like, a gun. I'm not            4 It was no longer than two or three seconds after it
 5 sure if it's a taser or a gun. I just see something          5 happened. And I couldn't tell how long he tased us,
 6 pointed, and it's aimed at my head. And that's most          6 but I know for a fact when I was on the ground, I felt
 7 of the reason why I didn't move.                             7 watts, tons of watts, and it was extremely painful,
 8         And I seen my mom fall. And once I seen my           8 excruciating pain.
 9 mom fall, and she hit her head. And once she hit her         9    Q So when Chey deployed the taser, did he warn
10 head, then he tased, like he shot the taser at her,         10 your mom? Did he say, "Tased"?
11 and it hit her in the hand. And when it hit her, I'm        11    A No, I didn't hear none of that.
12 reacting because I seen my mom fall. I'm just               12    Q So what happened -- your mom gets tased.
13 reacting, and I'm like, "Mom." You know what I'm            13 Let me rephrase.
14 saying? I ain't move two -- like 2 or 3 inches. And         14    A Yes.
15 I just see the gun or taser, or whatever, just like         15    Q Blake turns around immediately after your
16 deliberately drop, you know, towards my waistband           16 mom is tased and tases you?
17 area. And I got shot in the scrotum, and my shirt was       17    A No. Blake already initially had the taser
18 attached to my genitals, and I couldn't -- I couldn't       18 on me. He never took it off of me.
19 get up. I couldn't move. And by that time, I'm on           19    Q Okay. Did he -- go ahead.
20 the ground shaking like a rag doll, pleading to God.        20    A Ma'am?
21         And that's -- that's -- I see them taking my        21    Q Where did he aim it?
22 mom to the -- to a patrol car. But at that point I'm        22    A He aimed it at my head initially at first.
23 just -- I'm in so much pain, I can't just be aware of       23 When I was looking at him eye to eye, he had the taser
24 what's going on. Like, I'm shaking crazy on the             24 aimed at my head.
25 ground. It was very, very painful.                          25    Q How far away was he?

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 1    A No less than 5 yards.                                1   like when that had happened and Chey had done tased my
 2    Q Do you know how far away Chey was from your          2   mom and Blake had done tased me, I'm on the ground
 3 mother?                                                   3   initially. I'm still shaking. And Blake got the
 4    A I would say about the same, about 3 to               4   taser in his hand.
 5 5 yards.                                                  5           I -- I hear Chey say something about
 6    Q Okay. So at what point did Blake deploy the          6   putting -- putting her in the squad car, which he's
 7 taser for you?                                            7   referring to my mom. But Chey didn't put her in the
 8    A Immediately after my mom was tased. When             8   squad car. Blake -- like, Blake put my mom in his
 9 she was tased, it like -- it, like -- simultaneously      9   squad car, and Chey came and -- had his taser and just
10 it happened to me right after. Like right after I        10   put like his knee in my back to where I couldn't move,
11 seen her, like, fall and hit her head on the ground      11   but I'm already pinned down, and I've got pins in me.
12 and get tased, I got tased. It was like that.            12   So I'm feeling all of it. And, like, his knee is,
13    Q Do you know how long you were tased?                13   like, in between my shoulder blades, and, you know, it
14    A No, ma'am. I can -- I cannot say how long.          14   is hard to breathe like that. I can't breathe like
15 But I can tell you it was over 20 something seconds,     15   that. And, plus, I've got pins in me.
16 like he was just -- like he had his hand -- like his     16      Q Did he put the handcuffs on you at that
17 finger, his trigger finger, laid on the trigger. And     17   point?
18 I was just laying there shaking like a rag doll, and I   18      A No, ma'am, not at that point he didn't.
19 felt several watts in my genitals and extremely          19      Q Okay. Were you ever put in handcuffs?
20 painful. I can't explain to you how painful it was.      20      A Yes, I was.
21    Q So he tased you one time for 20 seconds?            21      Q When?
22    A I guess. I feel so. But I don't know how            22      A Before the arrival of the other deputies and
23 many times you can tase somebody with a taser in them.   23   the arrival of the ambulance.
24 So I don't know how that works.                          24      Q Okay. What about your mom? When was she
25    Q Okay. Do you think you only got tased once?         25   put in handcuffs?

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 1     A I think, but it can't be for sure. Like, no         1      A I guess immediately after she was tased, and
 2 one knows, I guess.                                       2   she was put in the squad car.
 3     Q Okay. Did he warn you before he tased you?          3      Q Okay. So what was Selena doing this whole
 4     A No, ma'am. He had it pointed at my head.            4   time?
 5     Q So once he tased you, did you fall over?            5      A She was there on the phone with the
 6     A Immediately. It went through my shirt, and          6   dispatch, telling them that we need some more officers
 7 my shirt was pinned to my scrotum. Every time I tried     7   on the scene because what they're doing is unlawful,
 8 to get up I'm like a hunch man. I can't move because      8   and it can't be right. I'm not sure if you have the
 9 it is fish hooks attached to the pins in the taser,       9   dispatch recording. But it was -- it is -- it is
10 and it's pulling my flesh. It's pulling ligaments and    10   hectic. It is a lot going on. You can tell that.
11 flesh every time I move. And so I'm screaming and        11      Q So was she still on the porch the whole
12 hollering and pleading to God.                           12   time?
13     Q Okay.                                              13      A She was by the ground beside me at that
14     A And the whole time --                              14   point, telling them to get back, "Get off him,"
15     Q I didn't mean to cut you off. Go ahead.            15   because I couldn't breathe. My face is already bent
16     A No, you're fine. I was finished.                   16   down in the grass, and I've got pins in me. And when
17     Q When you fell, did you hit your head at all        17   Chey came and put his knees in my back and my mom was
18 or hurt yourself?                                        18   in the squad car, like him and Blake had done came to
19     A I fell face forward. It was grass out              19   try to, you know -- I guess try to subdue me, or
20 there, so I couldn't just say I injured myself from      20   something, just trying to keep me pressed down, or
21 the fall. But there -- there shaking on the ground       21   whatever. But they just -- they just had like their
22 going through that was unbearable. And I'm just like     22   knees on me, like they putting their knees in my back,
23 I'm reliving it.                                         23   and stuff, on my side, and stuff.
24     Q So what happened next?                             24      Q Did she try to push them off?
25     A When that happened, Chey had done came --          25      A She ain't try to push them, but she telling

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 1 them like, "Get back. Y'all can't do that. You need       1    Q When did you have time to call these people?
 2 some more cops out here" and just using foul language.    2    A When -- like, my girlfriend did it at the
 3 "This ain't right. This some BS," you know.               3 time, because she -- she was -- she was around me at
 4    Q Did she try to put her hands in their face,          4 the time. And that was -- I think that was after I
 5 or anything?                                              5 had done got tased, and I was on the ground, and I'm
 6    A No, not once. She didn't do that.                    6 telling her -- because she had my phone. And I'm
 7    Q Okay. How long in total was this whole               7 telling her to call David Hogan, call anybody,
 8 incident, would you say?                                  8 somebody that know us, that really just know us that
 9    A Man, I can say this incident lasted a total          9 really help us because this is crazy.
10 of 45 to 50 minutes, probably something like that,       10    Q What were you saying to David Hogan?
11 around in there, including the ride to the hospital      11    A He -- he never answered the phone. I called
12 and being in the hospital. You know, it was a long       12 him. I called him because I played football with his
13 experience.                                              13 son, and he sponsored my team championship, and we --
14    Q Okay. When did the other police officers            14 I knew him. But he didn't answer the phone. So I
15 arrive?                                                  15 tried to call him. He didn't answer the phone. I
16    A They arrived after everything was more or           16 tried to call another coach. He never answered the
17 less said and done, after my mom was in the cop car,     17 phone. But the two that did was Monticelly and Shelby
18 after I had handcuffs on me and still laid down on the   18 Rogers.
19 ground with the pins in me because they couldn't move    19    Q What did you say to Monticelly?
20 me. They couldn't move me.                               20    A More or less like that -- that I need help.
21    Q Do you know what officers are there or how          21 You know what I'm saying? "Coach, you're going to
22 many?                                                    22 have to help me, Coach. They down here trying to hurt
23    A There was three officers. I don't know              23 me, you know, do something bad to me, Coach."
24 their names specifically. But I know for a fact all      24        The whole time being at Pearl River he was
25 three of the officers knew me because of my football     25 the coach that was over the running backs and my


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 1 career, because they all said my name, like stating my    1 position coach. So we had a really good connection.
 2 name when they came on the scene.                         2 And he tried to do everything that he could possibly
 3    Q Okay. Prior to you getting tased, did the            3 do to help me.
 4 officers ever ask you to put your hands behind your       4    Q Okay. How long was that conversation?
 5 back?                                                     5    A The conversation was fairly short. It
 6    A No, ma'am. They never -- they never just             6 wasn't -- wasn't no longer than like 40 seconds. It
 7 initially tried to detain me or tried to come straight    7 happened real quick conversation.
 8 forth and say that I'm under arrest or I'm being          8    Q What did Monticelly say?
 9 detained for this.                                        9    A He say, "All right." Because who I'm trying
10    Q And they never tried to put handcuffs on            10 to tell him to call was like another coach, you know,
11 you?                                                     11 that knew my family real well.
12    A Until after the point, until everything             12    Q Uh-huh.
13 escalated and got to where it was.                       13    A You know, and he -- he just said, "I'll try
14    Q Okay. So the only witnesses to this                 14 to. I'm going to get right on it." And it was early
15 incident were you, Selena, your mom, and Chey, and       15 in the morning at the time, and, you know, everybody
16 Blake, correct?                                          16 be...
17    A Also I called -- I had some people -- like,         17    Q So -- okay. So Monticelly, what's his first
18 I called people on the phone. I called my old            18 name; do you know?
19 football coach from Pearl River, Monticelly, I called    19    A Mack. Mack Monticelly.
20 him. Shelby Rogers also was on the phone, had done       20    Q And he works at Pearl River?
21 heard parts of it.                                       21    A He was there at that time. I think now he's
22    Q Is your football -- I'm sorry. Go ahead.            22 still in Mississippi at a high school somewhere
23    A And at that time that was more or less it,          23 coaching.
24 besides my grandmother hearing -- you know, hearing      24    Q Okay. And Shelby Rogers, that was a boy.
25 parts of the situation.                                  25 You got on the phone with him?


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 1    A Yes. He -- he was the owner of my property             1     A They didn't -- they didn't bite. They
 2 that we lease.                                              2 didn't bite. They didn't try to attack. They just
 3    Q What did he say? Or what did you say to                3 barked. And when they barked, they didn't like that,
 4 him?                                                        4 the fact that my dogs were barking at them while they
 5    A More or less, I -- I'm trying to remember              5 was trying to do what they were doing.
 6 what I said to him because I -- I said a lot. I'm           6     Q Were they growling?
 7 talking to him, and it was also a short conversation,       7     A No, they weren't -- they weren't growling.
 8 but I said a lot. And it was more or less like, "I          8 But they was there, like, barking at them. Because
 9 need -- I need some assistance. You know, Forrest           9 the whole time they was -- they was like getting rough
10 County down here doing this and this about my dogs."       10 with me, that's -- that's when the dogs started to
11 And he -- he is an attorney himself. So he just tried      11 bark. And when he was yelling and doing all of the
12 to help me the best way he could.                          12 other stuff, that's when the dog started to get a
13    Q Okay. And what did he say to you?                     13 little aggressive.
14    A He -- too much -- he didn't have too much to          14     Q Who owns the dogs?
15 say about it. He was just more or less about his           15     A Me and Selena. They're our dogs initially,
16 property to make sure his property was up to -- up to      16 both.
17 date and just good, make sure nothing was on his part      17     Q You're both the owners?
18 to why they was out there, of being called to his          18     A Yeah. Well, we just -- we just cleared up
19 property. So he was -- he was unaware of it.               19 this fact, if -- if we happen to break up, who takes
20    Q And you don't know how long this went on,             20 the dogs. And she said she would take the dogs, so
21 this conversation?                                         21 that's heartbroken if she took my dogs.
22    A No, ma'am. It was fairly short. It                    22     Q So there are only two dogs, correct?
23 wasn't -- it wasn't long. And I need you -- I'll tell      23     A Right.
24 you again. I didn't have the phone in my hand. I'm         24            MS. SMITH: So let me see if I have
25 yelling. It is on speaker, and I'm yelling.                25 anything else. I do have an exhibit, and I got it on


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 1      Q What are the dogs doing at this point? Are         1 late Friday, Daniel, so I didn't send it to you. I'm
 2   they barking?                                           2 going to have to re-supplement my discovery.
 3      A Oh, yes, the whole -- the whole time, like,        3            MR. WAIDE: What is it?
 4   the dogs were barking. And, like, that was the kind     4            MS. SMITH: Sorry. I didn't -- I got
 5   of weird part because he told me to take my dogs off    5 it late Friday, so I never supplemented. Amanda, can
 6   the chain. And once I did take my dogs off the          6 you show -- they're the affidavits that were filled
 7   chain -- I think that was Officer Chey -- my dog --     7 out in the justice court. So you might have seen them
 8   because he was yelling and getting hostile with me the  8 already.
 9   whole time. And my dogs are loving animals. And one 9                MR. WAIDE: Yeah, we've got those.
10   of them started growling. And he aimed the taser       10            MS. SMITH: Nineteen.
11   towards like at my dog. He aimed the taser at my dog 11 MS. SMITH: (Continuing.)
12   as if he was going to shoot my dog with the taser.     12     Q So, Darious, can you see -- can you see
13      Q Did he tase the dog?                              13 that, or is it hard?
14      A I don't know if he shot the taser or not,         14     A Yes, ma'am, I can see it.
15   but my dog started off running as if he tried to shoot 15     Q Okay. Can you --
16   her.                                                   16            MR. WAIDE: Let me give him a printed
17      Q Okay. Was the dog biting or nipping at            17 version so -- he might can see a little better on a
18   them?                                                  18 printed version.
19      A The going wasn't biting. But if -- you            19            MS. SMITH: Okay, that's fine. You can
20   know, I'm their owner. Me and Selena are their         20 give him a printed version.
21   owners. So the fact that you've got a hostile tone,    21            MR. WAIDE: Okay.
22   you know, and just taking a rough approach, of course, 22 MS. SMITH: (Continuing.)
23   any animal will be hostile or be protective over their 23     Q Do you see -- and it looks like Deputy
24   owner. Who wouldn't? Like, what animal wouldn't? 24 Sumrall filled out this affidavit. Can you see what
25      Q Okay -- I'm sorry.                                25 he wrote on the first one?


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 1    A Yes, ma'am. He wrote, "Disorderly conduct."            1 like, walk. I couldn't walk. That's what I meant to
 2    Q Okay. And it says that -- it looks like it             2 say. I couldn't walk. It was hard for me to move.
 3 says, "Mr. Leggett stepped in Deputy Sumrall's face         3    Q Okay. Well, where did the ambulance take
 4 when he asked him to provide proof that the dog had         4 you?
 5 food." Is that right?                                       5    A They took me to Forrest General Hospital.
 6    A No, that is not right.                                 6    Q Okay. And what happened there?
 7    Q So you never stepped in his face?                      7    A When I was at Forrest General Hospital, I
 8    A Yeah, I didn't step in his face like the way           8 spent the majority of my day there. I was in there
 9 that he worded it on this paper. I didn't --                9 for about three to five hours. They was telling my
10    Q What does that mean, the way he worded it?            10 family that I wasn't -- I never arrived at Forrest --
11 What did you do instead?                                   11 Forrest General. They trying to say I was getting
12    A He worded it on this paper as if I stepped            12 booked in at Forrest County, giving my family the
13 in his face like as if it was a confrontation. But,        13 runaround. But the whole time I was at Forrest
14 yes, we made contact. And I did show him the dog food      14 General under a little thing to where I couldn't call
15 bucket. I did do that.                                     15 nobody. And it was a police in front of my door.
16    Q But you weren't yelling at each other?                16 They had me handcuffed to my bed.
17    A I wasn't yelling. I wasn't yelling. He had            17        And there were several nurses that came in
18 a hostile tone from the beginning. I repeat.               18 to get, I guess, a pen on my situation. And the
19    Q Okay. You weren't cursing at him, though?             19 woman -- the woman that walked in the first time
20    A Not -- not at that point, because I                   20 actually seen me, she was like, "Oh, my God" and like,
21 wasn't -- I wasn't aggravated or agitated at that          21 "I can't -- you know, these have to be, you know,
22 point.                                                     22 possibly surgically removed, you know, because ain't
23    Q Okay. And then it says, "Deputy Sumrall               23 no way I can possibly do this." So that's why I was
24 commanded Mr. Leggett to place his hands behind his        24 in the hospital for some hours there.
25 back, at which point he refused."                          25    Q When you said there is a police -- you said

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 1      A Never. He did not say that once.                     1   there is a police officer at your bedside?
 2      Q Okay. Okay. Let me see. So at what point             2      A Yes. There were officers -- Officer Chey.
 3   did the ambulance arrive?                                 3   He didn't leave.
 4      A The ambulance arrived after the sheriffs             4      Q Chey was there?
 5   arrived. There were three other sheriffs arrived on       5      A Chey was there. And he was there saying he
 6   the scene, and I think one of them is supposed to be a    6   apologized for the situation, how everything
 7   supervisor, a captain of some sort. But when the          7   escalated, "I'm sorry. I never meant for none of this
 8   ambulance arrived, they -- they basically told them       8   to happen. I never intentionally meant for you to get
 9   that there is nothing that they can do here, that he      9   hurt. We was just there for the welfare of your dog.
10   has to go to the hospital.                               10   I'm so sorry. I never knew that you and Blake knew
11          And on the hospital ride to the ambulance,        11   each other. I ain't knew y'all had past history."
12   one of the -- the ambulance workers, the one that be     12   Because the whole time we was out there Blake was
13   on the back of the van, or whatever, I'm talking to      13   just -- he was talking, and we was just, you know,
14   him, and he -- he, more or less, telling me, like,       14   bringing up some things.
15   "How -- how can you get tased in this area               15           And I recently had a friend, a dear friend
16   deliberately if you sprawled out and your chest is       16   of mine, both of ours, he passed away. And he was
17   open and your arms is open? There is no way you          17   talking about that, and it was a very sensitive
18   should get hit in your genitals." Because at this        18   subject. But, you know, besides the point with that,
19   point I'm crying. I'm crying because I'm in so much      19   it got -- it got real emotional.
20   pain, and I'm trying to talk to him, and I can't move.   20      Q Well, let me -- I'm sorry. Go ahead.
21   He's trying to get me up to walk and put me on the       21      A No, you're fine.
22   stretcher. But I can't even roll over to get on the      22      Q Let me ask you. You're saying you were
23   stretcher. Like, it was bad.                             23   talking to Blake during the incident?
24      Q So you are saying you can't talk?                   24      A Yes, afterwards, like after I had done got
25      A Right. Like, I could talk, but I couldn't,          25   tased. I'm on the ground. I'm, like, on the ground,

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 1   and I'm telling them, like I'm pleading, but I'm         1 there. And my girlfriend called down there to the
 2   talking to him at the same time. As I'm talking to       2 jailhouse at Forrest -- Forrest County, and they said
 3   God, I'm talking to Blake. And I'm telling him, like,    3 I was being processed, and they never could tell her
 4   "Man, I don't have no hatred in my heart towards you,    4 anything. They was giving her the runaround the whole
 5   man. I don't have no matters towards you, bro. Like,     5 day. That's how I wasn't able to go to William Carey
 6   I forgive you."                                          6 and take my finals. I had to withdraw from school
 7      Q You forgive him for the incident?                   7 because of this incident because my GPA had done
 8      A Yes. Immediately after it happened I told           8 dropped so severely because of my finals. And I had
 9   him, "I forgive you. A lot of people make mistakes.      9 to do something.
10   You know, things happen. Everything escalated." But     10    Q How many finals did you have that day?
11   at the time it was -- he was making remarks about my    11    A That day I had three.
12   friend, Corey.                                          12    Q They let you take three finals that day?
13      Q Did you have a history with Blake?                 13    A Yes, because it was -- I was taking, like,
14      A We played on the same football team. He was        14 close to about 18 credits at that time because I was
15   my -- he was my fullback. I was his running back. We    15 trying to build up my GPA to go play football for the
16   were on the state championship together in 2013 for     16 Jacksonville Gamecocks in Alabama, in Birmingham,
17   Forrest County, the first state championship to ever    17 Alabama.
18   happen out there. So it was a historical moment. We     18        And I was more or less finished and, like,
19   had a little history like that.                         19 in the process of completing it. But I think that day
20          But other than, like, just meeting each          20 I had like a business midterm, one in, like, New
21   other at practice and seeing each other at practice     21 Testament, religion. And I happened to miss all of
22   and like that, that's it. I ain't never had no          22 those, and they wouldn't let me remake my final.
23   outside relations with him besides school.              23    Q William Carey wouldn't let you retake it,
24     Q But did you have any animosity towards him?         24 even though you were in the hospital?
25     A Not really. I can't say I never really had          25    A Yeah. I guess the way their school policy

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 1 any animosity towards him, you know, me personally.        1   is set up, I think they're a privately owned school,
 2 I'm a loving guy. I'm cool. Anybody knows that. So         2   so they do things differently.
 3 I don't -- I don't hold no grudges, or nothing like        3      Q What was your GPA before?
 4 that. Try not to.                                          4      A Before, it was like 2.9. 2.9. Almost a
 5    Q Before the incident, is what I mean.                  5   3.0.
 6    A Oh, no, ma'am. I honestly worked with                 6      Q And you couldn't just drop the classes?
 7 Blake. Blake's brothers, his siblings, I worked with       7      A It was the point of the final exam was the
 8 his siblings before. So I ain't had no problem with        8   last day -- like before then was like a week or two
 9 Blake.                                                     9   before you're able to drop your classes. So, like, it
10    Q Okay. So let's go forward to the hospital.           10   wasn't no way possible for me to ever drop the class.
11 Did you have to have a surgery to remove the taser        11   I had already passed the deadline to drop the classes.
12 prongs?                                                   12      Q Right. So they -- but they're letting you
13    A They -- they debated about surgery. I was            13   take three exams a day. I just -- I'm just asking
14 sitting in there for about three to five hours. But,      14   because, when I was in school, they wouldn't let you
15 luckily, there was no surgery done. They're just --       15   take that many.
16 they came in and tried to do it, I guess, as quickly      16      A Well, it was -- it was one -- it was like --
17 as possible and just tried to, you know, defuse the       17   it was spaced -- it was spaced out. It wasn't like
18 situation because my people was looking for me, and       18   all at one time. Like, I had one like at -- like at
19 they can get in trouble saying that they don't have       19   nine-ish, ten, and I had one at, like, 1 o'clock, and
20 nobody there.                                             20   my last one was like close to two.
21    Q So Forrest General told your family that you         21      Q How long did it take to get from your house
22 weren't there?                                            22   to the school?
23    A Yes.                                                 23      A From my house to the school, it takes at
24    Q Why?                                                 24   least 20, 25 minutes, depending on, you know, the
25    A I don't know. They told my family I wasn't           25   traffic.

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 1      Q So if you had one at 9 o'clock, you weren't          1        So now still to this day, I don't know
 2   on the way to go to your exam?                            2 whether, you know, I can have kids or bear seeds or
 3      A I would have been -- I would have been on            3 not, and that's -- that's what frightened me the most.
 4   the way. But with the incident that had done              4    Q Who was the doctor that you were going to
 5   happened, I couldn't go. I'm telling the officers, as     5 see?
 6   I'm on the ground, tasers in my genitals, "I have an      6    A They didn't -- they didn't necessarily --
 7   exam at William Carey that I have to attend, and I        7 they referred me to a doctor. I can't remember the
 8   can't miss it."                                           8 name, off the back. But if I have the paperwork, it
 9      Q Okay. So when you -- you're at the                   9 should be on the paperwork. But they just referred me
10   hospital. You never go under anesthesia to get the       10 to the doctor, and that's what they said to me.
11   prongs out, correct?                                     11    Q Is that the only follow-up that you had?
12      A Correct.                                            12    A No, ma'am. I had several follow-ups. I
13      Q And they just remove it with local                  13 went back to the ER two or three times because of the
14   anesthetic?                                              14 pain.
15      A I believe so. I'm not really sure how they          15    Q Okay. Do you have any medical records of
16   did it, local anesthetics, or what. I just know they     16 that?
17   tried to numb the area to where I couldn't feel the      17    A I believe so. I think so. I'm pretty sure
18   pain to where, you know, I couldn't just initially       18 I do because I have the medical records of the
19   feel it if they -- if they -- at first, if you yank or   19 incident.
20   tug or pull, it was extremely bad, and it was there.     20    Q Okay. Because I'm just saying I didn't -- I
21   I'm screaming. I'm screaming because it hurt so bad.     21 don't have those.
22      Q How many prongs? Is it one prong or two?            22    A Okay.
23      A It was two prongs.                                  23    Q So are you aware of any other problems from
24      Q Okay. And are they right next to each               24 the injury?
25   other?                                                   25    A Besides like me having nerve issues in my

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 1    A It was one like directly on my scrotum, like           1 leg, you know, because my leg just jumps periodically,
 2 my shaft. And my other one was like -- it was a prong       2 and I have, you know, I guess, nerve damage, or
 3 in my shaft, in my scrotum. It was my scrotum.              3 whatever. But it was kind of hard for me to get back
 4    Q Were they both in there? I'm just trying to            4 into the groove of things because I was a football
 5 figure it out.                                              5 player. I'm an athlete. And I run a lot. And I use
 6    A It was one there, in there, and it was                 6 my lower half of my body, majority -- 90 percent of
 7 pinned like through my shirt, and it had -- you know,       7 the time. So it was hard trying to run and build up
 8 had me bent over real bad. And the other was -- it          8 that confidence you need.
 9 went through the side, but it was like 2 inches away        9     Q Were you not able to run after this injury?
10 from my sack. And that was painful as well.                10     A No, ma'am, I wasn't. I was sore. I
11    Q Did Forrest General look at any other                 11 couldn't run. I couldn't move. It was hard for me to
12 injuries for you?                                          12 urinate.
13    A No, ma'am, they didn't. Honestly, I feel              13     Q Okay. How long?
14 like they just tried to rush me out of there because       14     A The pain lasted -- the pain lasted for about
15 of the situation.                                          15 a month, almost a month and a half, before I can
16    Q Did you have any other injuries?                      16 completely not just feel it anymore, but just tolerate
17    A Not -- not at that time. But I did go back,           17 it.
18 and I did see -- follow up with the doctors. What had      18     Q Okay. In your complaint, you said you
19 me scared, for the most part, is being able to bear        19 suffered mental anguish. Have you seen any doctors
20 kids. And I still haven't been able to get that just       20 for that?
21 done because, when I called the doctors, it was a          21     A What is mental anguish?
22 specialist type of person you have to see, and it is       22     Q Have you seen like a therapist?
23 $250 advance notice when you got up there to even get      23     A No, ma'am. I haven't -- I haven't seen no
24 checked, or something like that. You've got to pay         24 therapist. I haven't been in no rehab, or nothing.
25 $250 up front, and I didn't have it.                       25     Q Okay. Do you know what you were charged

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 1 with?                                                     1    A No, ma'am. They never took me to jail.
 2    A On this affidavit in front of me it says I           2 That's why I figured they got me to sign this
 3 was charged with disorderly conduct and resisting         3 affidavit.
 4 arrest.                                                   4    Q So you were never put in the Forrest County
 5    Q Were you ever given any sort of citation?            5 Jail?
 6    A Deputy Chey Sumrall gave me an affidavit, I          6    A Yes. They were trying to prevent from doing
 7 think, right before the doctor came in to remove the      7 that.
 8 prongs. Because the whole time he was in there he was     8    Q What do you mean?
 9 apologizing for the situation and how it escalated.       9    A I guess from the situation severely of me
10 And he -- he was just showing his remorse and how        10 having to go to the hospital for the treatment that I
11 sorry he was for what happened and how it took place     11 had to get done, I guess for me to go back to jail
12 and showing his empathy.                                 12 would be, I guess, unlawful to an extent. Because
13    Q Do you know if you were charged with animal         13 they wasn't trying to push it.
14 cruelty too?                                             14         When I say Officer Chey Sumrall was
15    A No, ma'am. I don't know if I was charged            15 apologetic and he got a call over his walkie-talkie
16 with that. But I think Deputy Blake had done wrote       16 thing, and they were telling him what to do. So he --
17 something about that, about my girlfriend, and she       17 he wrote out an affidavit, and he asked me to sign it,
18 wasn't aware of that.                                    18 and he was more or less being apologetic. Because at
19    Q So you were given a citation, though, right?        19 first I couldn't call out -- I couldn't call out to my
20    A Yeah. I was given disorderly conduct and            20 parents, my girlfriend. They would hide my room
21 resisting arrest and an affidavit.                       21 number. And after he left and gave me the affidavit,
22    Q Did you ever appear in court for these              22 then they let me call my folks. But at first, Forrest
23 charges?                                                 23 General would not let me call my people.
24    A Yes, ma'am.                                         24    Q Okay. So did he mention that you were post
25    Q When?                                               25 arrested?


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 1    A What was the date?                                   1      A No. He didn't mention none of that. He
 2    Q It is just from your memory. If you don't            2   just said, "Hey, can you sign this for me? I need you
 3 know --                                                   3   to sign this affidavit for me, man. I'm not going to
 4    A I can't tell you exactly.                            4   take you to jail." That's what he said, "I'm not
 5    Q Okay. Was it a few months later?                     5   going to take you to the jail."
 6    A After -- after the situation, yes.                   6      Q Okay. Was Selena given a citation?
 7    Q Okay. Do you know what came about? What              7      A No, ma'am, not until the day we had to go to
 8 were the charges? What was the dispensation?              8   court, she was first aware she had charges against
 9    A We was -- we was cleared of the charges.             9   her.
10 From my understanding, we were cleared of the charges.   10      Q Okay. So you don't know if she was post
11 And we -- we went through to file a civil suit.          11   arrested?
12    Q Okay. All three charges or all two charges?         12      A No.
13    A Yes. We completed -- we beat all three              13               MS. SMITH: Let me see. I'm trying to
14 charges, all of the charges.                             14   find something. Bear with me.
15    Q Okay. How long were you in the hospital? I          15                  (Brief pause.)
16 forgot to ask.                                           16               MS. SMITH: Amanda, can you pull up
17    A I was in the hospital the majority of that          17   the -- it's called "Arrest Report." This is Exhibit
18 day, that whole day. I was in -- that whole morning.     18   C, correct?
19 I didn't get out of the hospital until about four that   19               COURT REPORTER: Does it have a "C" on
20 evening, and the incident happened at eight that         20   it?
21 morning.                                                 21               MS. SMITH: No, it doesn't. I'm just
22    Q You got out the same day, though?                   22   going to go -- the first one, which is the radio call,
23    A Yes.                                                23   is going to be Exhibit A. And then Exhibit B we're
24    Q Did you ever go to jail after you went to           24   going to do the affidavits, and this will be Exhibit
25 the hospital?                                            25   C.

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 1             COURT REPORTER: Can we do numbers         1 post arrested or arrested?
 2   instead of A,B, C?                                  2    A Not -- not -- not lawfully. Unlawfully,
 3             MS. SMITH: Yes.                           3 yes.
 4            (DOCUMENTS MARKED AS EXHIBIT NOS. 1 4           Q Okay. But you were still post arrested, and
 5              THROUGH 3 AND ATTACHED.)                 5 so was Selena, correct?
 6   MS. SMITH: (Continuing.)                            6    A No.
 7       Q Darious, can you see -- it is page -- the     7    Q Why not?
 8   Bates label is 6. Do you have it in front of you?   8    A Because that's not how it happened.
 9   Have you seen this before, Darious?                 9           MS. SMITH: I can't hear you.
10       A Yes, I believe so.                           10           MR. WAIDE: I just don't think
11       Q Have you had a chance to read it?            11 Mr. Leggett understands those terms.
12       A Yes, ma'am.                                  12           MS. SMITH: Okay. But I just showed
13       Q And do you know what it is?                  13 him the exhibit, and that's what it says. And I'm
14       A I guess this is referring to my dogs.        14 asking if he disagrees with me.
15       Q It's a narrative by Blake Bass about the     15 MS. SMITH: (Continuing.)
16   incident.                                          16    Q And you disagree, correct?
17       A No, I never seen this.                       17    A Yeah, I disagree.
18       Q Okay. Do you want to take a minute to read 18      Q Okay. But you agree that you were all
19   it?                                                19 charged with something?
20       A No. That's fine. We can go through it.       20    A After the fact. They came -- they came up
21       Q Okay. So if you look on here, it says        21 with that after the fact. Selena didn't know she had
22   that -- at the very bottom, it says, "Both         22 charges in her name until after the court date. Like
23   subjects --" and he's talking about you and your   23 when we went to court that day for our charges for the
24   mother "-- were arrested for disorderly conduct,   24 disorderly conduct and resisting arrest, that's when
25   failure to comply, and resisting arrest." It says, 25 she found out she had something written in her name.


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 1   "Mr. Leggett was transported to Forrest General, and    1        And by law, unlawfully, Blake Bass cannot do
 2   he was post arrested."                                  2 that. How can you write a warrant for someone and not
 3          Does that sound right?                           3 tell them about it or not give it to a judge?
 4      A I guess that sounds right, but that is not         4     Q Well, she had charges, so he must have given
 5   accurate. That's not how it happened.                   5 it to somebody.
 6      Q He never told you you were being post              6     A No. When -- Pamela was the attorney.
 7   arrested?                                               7 Pamela told Blake Bass herself, "Why would you write
 8      A No, ma'am. He never told us not once that          8 charges on a person and not give it to a judge or not
 9   we was being post arrested.                             9 see it through?"
10      Q And then at the very bottom paragraph it          10     Q Well, let's go back and look at the
11   says, "Ms. Howard was also post arrested for simple    11 affidavits. She was charged because affidavits were
12   cruelty to dogs."                                      12 all dated the same day, Exhibit 2, correct?
13      A Nope. Never knew that, ma'am.                     13     A Ma'am?
14      Q But it sounds like you were all post              14     Q In Exhibit 2, the affidavits that I showed
15   arrested or arrested.                                  15 you earlier --
16      A Well, this is what I'm saying, like it            16     A Okay.
17   wasn't to our knowledge. We wasn't aware of that, if   17     Q -- they're all dated on September 27th,
18   we was post arrested or not. Like, they didn't make    18 correct?
19   that known. They didn't make that clear.               19     A If that's -- yes, if that's what you see.
20      Q But would you disagree with me that you were      20     Q These affidavits?
21   all arrested or post arrested?                         21     A Right. Yes.
22      A I disagree that -- I wasn't post arrested.        22     Q Are you looking at them?
23      Q Well, you were given a citation?                  23     A Yes, ma'am.
24      A Well, that was after the fact.                    24     Q Okay. Are they all dated on the same day?
25      Q So you would disagree that you weren't all        25     A I believe so.

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 1    Q Okay. So were you-all charged on the same            1 genitals. To be honest, I don't trust none of you
 2 day?                                                      2 guys right now. I'm sceptical. Let's be honest. I'm
 3    A I'm not -- I'm not sure. I think so. I'm             3 sceptical. Y'all didn't have no search warrant to
 4 not -- I don't know. I know for a fact when we showed     4 really just -- probable cause to search my vehicle."
 5 up to court, he had some charges written out in her       5 At that time they were just harassing me, giving me a
 6 name, and they had to throw it out because he didn't      6 hard time.
 7 give it to a judge, and he didn't go about it -- like,    7    Q But you're not making any claims in this
 8 how can you write some charges on somebody and have       8 lawsuit about that, correct?
 9 them pending?                                             9    A No. But I just wanted you to be aware of
10    Q But you just said she had charges, correct?         10 that.
11    A No. The charges that he wrote out on her            11    Q Yeah. That's fine. But prior to this
12 was not accurate, like they had to throw that out        12 incident, have you had any run-ins with Forrest County
13 because he didn't -- he didn't tell nobody that he did   13 deputies?
14 that, that he wrote charges on her.                      14    A No, ma'am. My name -- I never had a thing
15    Q So regardless if they're accurate or not,           15 on a traffic ticket against my name, let alone a
16 she was still charged with something, correct?           16 felony or anything else.
17    A No, she wasn't.                                     17    Q So you've never accused any other officers
18    Q Just yes or no.                                     18 of excessive force?
19    A No, she wasn't charged. We beat the                 19    A No.
20 charges.                                                 20    Q Okay. Have you spoken with Sheriff McGee
21    Q But that was the dispensation of them. They         21 about this arrest?
22 were dismissed, correct?                                 22    A No, I haven't.
23    A We beat the charges, yes.                           23    Q Have you spoken with any other Forrest
24    Q So they were dismissed?                             24 County employee about this?
25    A Okay.                                               25    A No, I haven't.

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 1     Q So she was not convicted, correct?                  1      Q And was that the only time that you've seen
 2     A No. We beat the charges.                            2   the deputies after this?
 3     Q But she was still charged?                          3      A No, ma'am. It was several times. I live in
 4     A That's what I'm saying. I guess, yes.               4   the area, so they patrol my area a lot often. We run
 5     Q Okay. Thank you. So have you had any other          5   into them at the Dollar General, at the Sunflower, at
 6   run-ins with Forrest County deputies?                   6   any place you can think of. And I get dirty looks, I
 7     A Yes. After that incident, I had done went           7   get dirty stares. You know, it was several times we
 8   through a roadblock, and Officer Blake Bass was there,  8   got blued.
 9   Officer Wesley Cook -- I think that's his name -- was 9        Q Have you ever spoken with them about it,
10   there. And they were all just more or less giving me 10     anything?
11   a hard time. They pulled me and my girlfriend out of 11        A I'm pretty sure they're aware. It was one
12   the vehicle, searched our vehicle. They never          12   officer that told me that they don't condone the
13   searched nobody else. They were just pulling out       13   actions of Blake and Chey, that they act like that
14   their IDs and checking IDs and letting people go.      14   they are high schoolers and just got out of patrol
15          But when it came to us, they pulled us to       15   school.
16   the side, checked my vehicle, checked me up under my 16        Q I'm talking about Chey and Blake. Have you
17   scrotum, and everything else. And I was more or less 17     ever spoken with them about this?
18   edgy because I don't trust police now. Like, I can't. 18       A No, ma'am. I'm obligated not to discuss
19   Honestly, I feel like my life is in danger, like it's  19   this with anybody other than my attorney.
20   threatened every time I leave my house or get into my 20       Q Okay. And have you been convicted of any
21   car.                                                   21   other crimes?
22          And the whole time the officers asking me,      22      A No, ma'am. I'm a college student.
23   "Why? Why you so fidgety? Why you so shaky?" 23                Q Well, I know. I'm just -- I have to ask you
24          And I'm like, "Because we just previously       24   all of these questions.
25   had a run-in with an officer where he tased me in my 25        A You're fine. I'm just letting you know.

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 1   I've never been convicted. I've never been charged       1    Q Did you see what Chey did with his taser?
 2   with no crime or no heinous crime. I'm an upworthy       2    A No, ma'am. No, ma'am.
 3   citizen.                                                 3    Q Okay. All right. In your discovery
 4      Q Okay. I just have a few more questions.             4 responses, it says you have some photos in your
 5   And I just want to ask you -- is he saying something?    5 iCloud. What are they?
 6      A No, ma'am. I'm listening.                           6    A It was pictures of my scrotum. And
 7      Q No, I was asking if Daniel said something.          7 initially I told Daniel Waide I didn't want that to be
 8   I can't hear him.                                        8 a part of the exhibit because I didn't want my scrotum
 9          Just a few quick questions. After you were        9 to be displayed. But, at the same time, I had -- I
10   tased, what did Blake do with the taser?                10 had an iPhone. I got a new phone. It went to my
11      A What Blake did with the taser? He handed           11 iCloud, and I tried to get it to get the pictures just
12   the taser to Chey, and Blake put my mom in his squad    12 so Daniel Waide could have them, and I couldn't access
13   car.                                                    13 my pictures. I couldn't get to them.
14      Q Did they unplug the prongs?                        14    Q That's all that is in there, though?
15      A No. They had it attached to the gun the            15    A Yes, ma'am. And the picture just showed the
16   whole time. That's why I'm like -- that's why I'm       16 swelling and the indentions and where it left the
17   like I don't know how many times I got tased. I'm on    17 marks and the bruises.
18   the ground just shaking. I'm unaware. I don't know.     18            MS. SMITH: Give me one second, and let
19      Q So you went to the hospital with the taser?        19 me see if I have any other questions, if you don't
20      A In me.                                             20 mind.
21      Q With prongs in you?                                21            MR. WAIDE: Can we take a two-minute
22      A Yeah, the prongs in me. They had the prongs        22 break?
23   in me. They had to undo the cords on the scene when     23            MS. SMITH: Yeah. Let's take a break,
24   they arrived. But the whole time before the ambulance   24 and I'll just look and see. I might -- I might be
25   ever showed up, the prongs was in me. The cords were    25 done. Can we go off the record, Amanda?


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 1 still attached to the gun, and everything.                 1             (Off the record.)
 2    Q Are you saying while you were on the ground           2           MS. SMITH: I don't have any more
 3 they kept tasing you?                                      3 questions, Darious.
 4    A While I'm on the ground, I'm still shaking.           4           MR. WAIDE: Wait a second. I don't
 5 I never stopped shaking.                                   5 have any questions. I don't know if Mary Lee --
 6    Q Okay.                                                 6 doesn't she represent Chey Sumrall?
 7    A I never -- I never stopped shaking.                   7           MS. HOLMES: I do. But, no, Christina
 8    Q You think they only tased you once?                   8 covered everything that I was going to go through, so
 9    A I don't know. Like, I just feel watts. It             9 I feel good there. So we can move on.
10 never stopped. Like, the pain never stopped. I still      10           MR. WAIDE: All right.
11 felt it. I don't know how many times he laid his hand     11           (WHEREUPON, THE DEPOSITION WAS
12 on that trigger. I know for a fact that you can --        12         CONCLUDED AT APPROXIMATELY 11:08 a.m.)
13 you can tase a person, and you can hold that tase.        13
14 You can hold that watt. I know for that -- I know for     14
15 that fact.                                                15
16    Q You think at that point he did?                      16
17    A I believe so.                                        17
18    Q Okay. So did he -- once all of this was              18
19 over with, did he unhook the prongs, or did you go to     19
20 the hospital with the taser gun?                          20
21    A Like when they arrived, the people from the          21
22 ambulance came and unhooked the wiring from the gun, I    22
23 guess. And they tried to roll me over and tried to        23
24 cradle me over onto the stretcher because I was unable    24
25 to walk. Like, I clearly couldn't walk.                   25


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 1                                                           1                    CORRECTION SHEET
 2                   CERTIFICATE OF REPORTER
                                                             2
 3
                                                             3            I,________________________, do hereby
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                                                             4 certify that the following corrections and additions
 5   Public for the State of Mississippi, do hereby certify
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 6   that the above and foregoing pages contain a full,
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 7   true and correct transcript of the proceedings had in
                                                             7
 8   the aforenamed case at the time and place indicated,      CORRECTION           PAGE       LINE    REASON
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11        I also certify that I placed the witness under
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12   oath to tell the truth and that all answers were given
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17                                                          17
18                                                          18
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Min-U-Script®                                     AW REPORTING - 601-573-0961                                          (9) tased - what's
                                                     AWREPORTING.COM
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Forrest County, et al.

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                                                    AWREPORTING.COM
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     Print Date: 2113/2020                                                                                   UserName:KBYRD
     Print Time: 14,'35
                                                               Blotter Report                                Terminal #: 001
                                                   For Date(s): 912712017 to 9127 12017 .
                                           Organization(s):   All; Department(s): All; Event Code(s); All.

     EventType:1067-TRESPASSINC Date/Timer 9/27120173:47:l0AM CAD#:2117-ll4l4
     Event Location Info / Loeation: 1806 LEEVILLE RD
     Name: RICKY       DURDEN              Phone: (601)520-7207
     Call Location: 1068 MONROE RD
     RCmaTKs: RPADV THAT HE JUST GOT HOME AND THERE IS A LIGHT ON INSIDE. HE OPENED THE DOORAND LET
                THE DOG INSIDE
     Na rratives:
                    RP ADV THAT HE SHINED A FLASHLIGHT INTO THE WINDOW AND THE LIGHT TURNED OFF.
                    F56 ADV IO4O TRAFFIC
                    F56 ADV IO4O TRAFFIC CLEARED
     Disp.: NR-NO REPORT
     Zones - Larv: E Firel MA EMS: AAA Rescuel
     Respondine Unit(s)             Case / Run #  Refeived Dispatchqd Enroute On-Scene Cleared Call
     SHERIFF  F56                                 3:50:08 AM 3:50:08 AM 3:50;23 AM 4:03:42 AM 4:15:14 AM

     Event Tlpe: I081 - SUSPICIOUS PERSON        Date / Timer 912712017 4:40:09 AM     CAD #: ?A17-11415
     Event Location Info / Location: / 806 LEEVILLE RD
     Name: RICKY DURDEN                          Phone: (601)520-7247
     Call Location: 1068 MONROE RD
     RemaTKs: RPADV THAT HE SAW SOMEA FLASHLIGHT IN THE BUSHES BEHIND THE HOUSE.
     Narratiyes:
     Disp.: NR-NO REPORT
     Zones - Law: E Fire: MA EMS: AAA Rescue;
     Responding  Unit(s)                   Case / Run   #         Recpived Disnatched Enroute On-$cene Cleared Call
     SHERIFF    Fll                                               4:43:17 AM 4:43:17 AM 4:43:31 AM 4:52:25 AM 4:53:46 AM
\-   SHERIFF    F52                                                4:42.41 AM 4'.42:41 AM                                      4"43:24 AM

     Event Type: 1046 - CENERAL ALARM                 Date / Time: 9D1/2017 6:29'.46 AM                               CAD #: 2017'11416
     Event Location Info / Locationr / 711 BONHOMIE RD
     Name: CMS ALARM / RES ALARM Phoner (888)289-2800
     Call Location: BONHOMIE RD
     Remarks: GLASS BREAK, UNABLE TO GET KEY HOLDER, KEY HOLDER lS MR CLARK @ 601-602-2536, AITEMPTED
                TO CALL BUT NO ANSWER
     Narratives:
                    OUT WITH BROTHER OF HOME OWNER, CHECK]NG DOORS AND SET THE ALARM OFF AGAIN
                    BACK IO.8 BROTHER ISAT LOCAT]ONANDADVISED EVERYTHING IS CODE 4
     Disp.: NR-NO REPORT
     Zones - Law: S    Fire: Dl             EMS: AA           Rescue:
     Responding Unit(s)                    Csse / Run   #          Received Disrratched EnroFIg On-Scene Cleared Call
      SHERIFT Fl7                                                  6:42'.17 AM 6:42:17 AM 6.42:28 AM           6:53:17 AM
      SHERIFF F70                                                  6:34:04 AM 6:34:04 AM 6:34:35 AM 6:44:50 AM 6:53:53 AM

     Event Tlpe: 10100 - WEATHER     INVOLVED                     Date / Time: 9127DAll 6150:41 AM      CAD #: 2017-1141'7
     Event Location Info / Location: i CHURCHWELL RD @ APPS SLADE
     Name:                                       Phone: ( ) -
     Call Locationr CHURCHWELL RD @ APPS SLADL,
     Remarks: TREE ACROSS ROADWAY, SCHOOL BUS STOPPED AND LTNABLE TO BACK UP
     Narratives:
                    CONTACTED COLINTY BARN WHO ADVISED HE WOULD HAVE SOMEONE EN ROUTE, ALSO PAGED FI
                    RE DEPT
                    TREE OUT OF THE ROAD
     Disp.: NR-NO REPORT
     Zones   - Larv:         Fire:          EMS:              Rescue:                                                   r
                                                                                                                        E
                                                                  Page I of15
                                                                                                                         g
                                                                                                                                 I
                                                                                                                         f,
                                                                                                                     CLT-HOWARD-OOO89B
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Respondins Unit(s)                    Case / Run #             Received Dispatched Enroute            On-Scene Cleared Call
 SHERIFF FI7                                                   6:53:24 AM 6:53:24 AM 6:54:01 AM       7:06:19 AM 7:09:38 AM
SHEzuFF F7O                                                    7:04:11 AM 7:04:41   AM     7:04:41 AM 7:04:41 AM 7:10:26 AM

Event Tlpe; 1054 - ANIMAL CALL                                Date / Time: 912712017 7:00:44 AM            CAD #: 2017-l l4l8
Event Location lnfo / Location: / OLD HWY 49 1 MILE SOUTH AGRICU
Name: CARRIE                           Phone: ( ) -
Call Locationr OLD HWY49 I MILE SOUTHAGRICU
Remarks: 4 DONKEYS lN THE ROADWAY JUST SOUTH OF THE SCHOOL
Narratives:
               NEGATIVE CONTACT WITH DONKIES AT REPORTED LOCATION, F17 GOINC TO 321 OLD HWY
                                                                                            49

               TO SEE IF THIS IS THE OWNER OF THE DONKIES
               DONKEYS BAKC IN FENCE THEY BELONG TO MS RUTH AND HER NEW NUMBER IS 60I'520-*3456
Disp.: NR-NO REPORT
Zones   - Law:            Fire:        EMS:              Rescue:
Resnondin{-UIit(g)                    case / Run    #          Received Dispatched Enroute 9S+9, - - cleared Call
 SHEzuFF FI7                                                   7:10:17AM7:10:17AM7:'10:39AM7.2047AM7:28:244M
                                                              Date / Tims gUDAfi 7:5347 AM      CAD#:2017-11419
Event   \pe: TEST - TEST
Event Location lnfo / Location: / 2'10 MAIN AVE
Namel                                        Phone: ( )
Call Location: 210 MAIN AVE
Remarksl
Narratives:
Disp.: TC-TEST CALL
Zones - Law: S    Fire: BR              EMS: AAA Rescue:
                                       Case / Run   #          Received Dispatched Enroute            On-Scene Cleared Call
Respondins Unit(s)
                                                              Date /Time: 912712017 7:54:14 AM             CAD #: 2A17'11424
EventType; 1083 -TRAFFIC STOP
Event Location Info / Location: i ELKS LAKE AND BROWN BRIDGE
Name:                                        Phone: ( )-
Call Location: ELKS LAKEAND BROWN BRIDGE
Remarks:
Narratives:
Disp.: WA-WARNING
Zones   - Law:            Fire:         EMS:             Reseuel
Responding Unit(s)                     Case / Run   #-         Received Disnatpheg. EJI9U{! ^ -. On-Scene Cleared Call
 SHERIFF F7O                                                   75438 AM 754:38 AM 7:54:38 AM 7;54:38 AM 7:54:58 AM
                                                              Date / Time; 9D7nU1 8:02:26 AM        CAD #: 2017-11421
EventTlp* 1081 - SUSPICIOUS PERSON
Event Location Info / Location: / 433 MONROE RD
Name:                                        Phone:      ()
Call Location:
 Remarks:
 Narratives:
               FTT4I8
               80 I 4 16523
               COMINC OUT OF YARD ACROSS FROM 433 MONROE RD
               NCIC RESPONSE
               3',t302,
                HDI 0933 07:52.20 09127117
                RR.MSHDI0000.MSo I 8000 l.
                vtN/JT3 HN 8 6R7 X02 5 5221
                RR.MSLIC0000.MSo I 8000 1.*MRl243 1 872.
                *{.** RECORDS MAINTATNED BY MS TAX COMMISSION ****
                LIC/FTU502LITIAUExP/03-20l8ISSUED/o92l20l7TAcSTATUSI2
                VIN/JT3HN86R7X0255221 1999 TOYT RR5 4W WHITE
                             4 TLE-DT EI O 6 DzA I 4 T LEI 9 529889 TY PE/T
                P U R-DTE7O3262O I

                REC/MANTOOTH RANDALL OR CHANDLER TLEMANTOOTH
                                                                            RANDALL OR CHANDLER
                I4O FORD RD               I40 FORD     RD

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                                                                                                           CLT-HOWARD-OOO899
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              HAITIESBURG MS 39401 HATTIESBURG MS 3940I
              COTTORREST CO/FORREST #LEINS/O
              LEIN/1 DTE/00000000             LErN/2 DTE/00000000
              DECAL#/8FTU502
              Insurance Status/CONFIRMED Insurer/State Farm MutAuto Ins Co Policyl2421591629
              Mzu 2431879 37302 0004 07:52:2109127117
              NCIC RESPONSE
              37342.
              DMVWS 2475 08:04:23 A9l27tt7
              DR.MSOLN0000.MSo I 8000 l.
              oLN/8014r6523
              OLN1801416523 CLASS/Regular Operator
              BRADY KENNETH RAY
              59 JIM BURCH RD LOT 15           HATTIESBURG MS 394OIOOOO
              RACIW SEX/I\4 EYE/Green HAI/Blonde HCIT/504 WGT/122

              RESTzuCTIONSNONE ENDORSEMENTSNONE ELIG DATEIOOOOOOOO
              STATUS NON-CDL:Licensed          STAIUS CDL:UNLICENSED
              CONVICTED    OF      OCCUR-DT CONV-DT COWHAZ ACC ENF.AGENCY DISP
              FTO SIGN / TRAF CNTL DEV 022715 041415 N          N
                                                               N Forrest County S0 GLT
              ** END OF DRIVERS HISTORY **
              MR|243323'1 37302 0005 08:04;24 09D7tr7
              SUBJECT ADVISED RAN OUT OF CAS BUT DOES NOT WANT A RIDE, HE IS OUT OT THE ROADWA
              Y
Disp.: NR-NO REPORT
Zones- Law: N     Fire: NF            EMS: M          Rescue:
Resnondins Unit(s)                   Case / Run   #        Receivetl Dispatched Enroute 9t!.q.               --
                                                                                                                  Cleared Call
SHERIFF F5I                                                A:OZ:aanU8tr238AIvt8:02:38AM8:02:38AM8:07:08AM
EventType: LIFT-LIFTASSISTANCE                            Date/Timer 912712017 8:12:56 AM    CAD#: 2017-11422
Event Location Info / Location: /                                     LOT 110
Namer SUSAN WILSON/ LIFTASSIST Phone:
Call Location:
RemaTKS: NEDDASSIST WITH LIFTING MALE SUBJECT
Narratives:
                                                                                                      HE WOULD
              PACED OUT DIXIE VFD WITH NO RESPONSE, PACED OUTAGAIN AND FFIO9 ADVISED
               BE EN ROUTE FROM CARNES
Disp.: FR-FIRE RESPONDED
Zones   - Larv: S       Fire: Dl      EMS: AA         Rescue;
                                                                                                   On-Scene Cleared Call
Resnondine Unit(s)                   Case,/ Run #          Receiyed       Dispatched Enroute
 DIXIE DIXVFD                                               8:17:15 AM     8:17:15 AM
                                                            8:28:56 AM     8:28:56 AM 8:29:02 AM   8:53:28 AM 9:23:01 AM
 FF109
                                                                           9127D017 8:17:43 AM         CAD #r       2017-11423
Event'Ilpel 1054-ANIMALCALL                       Date/Time:
Event Location tnfo i Location: / 1348 ELKS LAKE RD
Name:                                  Phone: ()-
Call Location:
REMATKS: COUNTY WORKERADV THAT THERE WAS SOME DOGS THATNEEDED TO
                                                                                             BE CHECKED ON

Narratives:
              CHECKING ON SOME DOCS CALLED IN BY THE " COUNTY PEOPLE'
              TASERDEPLOYEDAND 1095
              PERSON RESISTING
                                                                                                   POLICE TAZED
              SELENA HOWARD FROM 1348 ELKS LAKE RD CALLED 9I I SCREAMING THAT THE
              HER BOYFRIEND AND SHOCKED THE DOGS
              IO95 2X TASER DEPLOYED
              FI7 ADV TO SEND AAA
              R/P ON 9I I ADV SHE WON'T GET OFF 9I1 TIL FI1 ARRIVES
              AAA IOIT
              FI I ADV FI3 IS IOIT


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                                                                                                       CLT-HOWARD-OOOgOO
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           FIRST LONG DRIVEWAY ON THE LEFT PER F7O
           FIRST LONC DRIVEWAY BEFORE WARREN PAVEN HOUSE. JUST PAST OLLIE WILLIAMS
           AAA IO23
           ALL TINITS CODE 4
           FI7 FOLLOWING AAA TO THE HOSPITAL
           F17 OUT @ ER
           NCIC RESPONSE
           37303.
           DMVWS 3250 A9fi9:42 09 /27 I t7
           DR.MSOLN0000.MSo 1 8000 L
           oLN/427415053
           OLN/427415053 CLASS/Regular Operator
           LEGCET'T ANTRINET DENISE
           1I JBHORNEROAD                  HATTIESBURG MS 3940IOOOO


           RESTRICTIONSNONE ENDORSEMENTSNONEELICDATE/OOOOOOOO
           STAIUS NON-CDL:Expired          STATUS CDL:UNLICENSED
           CONVICTEDOF OCCUR.DT CONV.DTCOM/HAZACCENF.ACENCY DISP
           DzuVINC W i SUSPEND LIC 082114 082114 N         N N Lamar County SO FTA
           NO PROOF OF LIAB INS 082114 082114 N           N N Lamar County SO FTA
           DR"IVING W / SUSPEND LIC O71OO9 O7IOO9 N        N N PCTAI PD FTA
           NO PROOF OF LIAB TNS 07IOO9 O7IOO9 N           N N PCTAI PD FTA
           DRIVINC W / SUSPEND LIC 022008 022008 N         N N Louisiana Office of FTA
           SPEEDINC           022008 022008 N N          N Louisiana Ofiice ofFTA
           SEATBEAVIOLATION 011508 01.l508 N N N MHP- Holmes Counry FTA
           DRIVINGW/SUSPENDLIC 011508 011508NN N MHP-HolmesCountyFTA
           EXPIRED OR NO DL 052805 052805 N N N Forrest County SO FTA
           CHILDRESTRAINTVIOL 101104 l0ll04NN N MarionCountv SO FTA
           SPEEDING           l0l104 101104 N N N Marion County S0 FTA
           DRIVINGW/SUSPENDLIC 101104 l0ll04NN N MarionCountv SO FTA
           IMPROPER / NO TAG 020704 020704 N N N Columbia PD      FTA
           DRIVINC W / SUSPEND LIC 0207A4 020704 N N N Columbia PD FTA
           DRMNGW/SUSPENDLIC 123103 123103NN N MHP'LamarCounty FTA
           DRMNGWISUSPENDLIC 101403 l0l403NN N MHP-LamarCounry FTA
           SPEEDING           101403 101403 N N          N MHP - Lamar County FTA
           NCIC RESPONSE . CONTINUED
           SPEEDING           100703 100703 N N N MHP - Marion County FTA
           IMPROPER / NO INSPEC STK 052403052403 N        N N MHP.         COUNT FTA
                                                                         FOTTCST

           NO PROOF OF LIAB   INS A52403 052403 N         N N MHP - Fonest Count FTA
           ** END OF DRIVERS HISTORY X*
           ** STATE SPECIFIC DATA **
           ALERTT lD Card ONLY:800848966
           M&|2441282 37303 0001 09:09:43 09/27117
           108 FROM ERAND THE IO95 HAD BEEN RELEASED
Disp.: NR-NO REPORT
Zones - Law: S    Fire: Dl        EMS: AA       Rescue:
Responding Unit(s)               Case / Run #        Received         Dispatched Enroute        On-Scene   Cleared Call
 SHERIFF FI I                                            8;28:27 AM    8:28:27 AM 8:30:17 AM                8:55:05 AM
 SHERIFF F13                                             8:32:23 AM    8:32:23 AM 8:32:36 AM    8:42:09 AM B:55:08 AM
 SHERIFF FI7                                             8:18:40 AM    8:18:40 AM 8:'18:40 AM   8:18:40 AM 11:02:14 AM
 SHERIFF F52                                             8:28:18 AM    8:28:18 AM 8:28:23 AM    8:41:59 AM 8:55:59 AM
SHEzuFF F7O                                              8:18:10 AM    8:18:10 AM 8:18:10 AM    8:18:10 AM 9:23:47 AM

Eveni'Ilpe: 1046 - GENEMLALARM                       Date /   Time: 912'112017 8:33:45 AM           CAD #:   2017-n424
Event Location Info / Location: /                    R
Name: PRESTON,ROXANNE/ALARM-lPhone:
Call Location:
RCMATKS: ALARM FOR SHED DOOR, ADT CALLED IN AND ADVISED RP IS NOT ATHOME'


                                                     Page4ofl5


                                                                                                   CLT.HOWARD.OO09Ol
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Narratives:
               ADT CALLED BACK AND CANCELLED. MOTHER ON SCENE AND ADVISED IT WAS A FALSE ALARM
               EVERYTHING IS CODE 4
Disp.: NR-NO REPORT
Z,ones   - Larvl E     Fire; MA   EMS: M Rescue;
Respondine Unit{s}                CaselRun# Received                    Disnstched E{route      On-Scene Cle4re$ Call
Event Tlpe: 1062 - AMBULANCE REQUEST                    Date   /Time: 9127/2017 9:04:41 AM          CAD #: 2017-11425
Event Loeation Info / Locafion: /
Name:                                 Phone: ( ) -
Call Location:
RE6ATKS: RSP 24 ADV THERE IS A MALE, CANT TALK AND REQUESTING AAA LAYING IN A DITCH.
Narratives:
               AAAIS TRANSPORTINC
Disp.: FR-FIRE RESPONDED
Zones - Law: N Fire: RS EMS: AAA Rescue:
RespondinsUnit(s)             Case / Run #  Received Dispatched Enroute On-Scene Cleared Call
 FF1I6                                      9:06:15 AM 9:06:15 AM 9:06:19 AM             9:10:25 AM
 RAWLS SPRING RSPI                          9:05:00 AM 9:05:00 AM 9:05:00 AM 9:05:00 AM  9:3'l:07 AM

Event Tlpe; 027 - SECURITY CHECK
                  1                        Date / Time: 912712017 9:04:59 AM      CAD #: 2011-11426
Event Location Info / Location: / TRAVIS ROAD NEAR WATSON DR
Name: SHANNON FROMTHESCHOOLPhone:                - ()
Call Location: TRAVIS ROAD NEAR WATSON DR
RCMATKS: BLK MALE INANISSAN THROWINO WALMART BAGS OVER THE BRIDGE
Narratives:
               JUST SOME DOLLAR GENERAL BAGS IN THE WAIER
Disp.: NR-NO REPORT
Zones    - Lawl        Fire:        EMS:           Rescuel
                                  Case / Run   #         Received Dispatched Enro,ute  On-Scene Cleared Call
Resoondins Unit{s)                             -         soTtu AM gj-1-4 AM 9:07:35 AM 9:21:02 AM 9:25:53 AM
 SHER1FF F5 I
                                                                        9/271201'1 9:07:20 AM       CAD#:2A17-11427
Event Typer 1050 - MOTOR VEHICLE ACCIDENT Date / Time:
Event Location Info / Location: / 59 SB/ N OF EGP EXIT
Name: l8 WHEELER WRECK

Remarks: RAN OFF THE ROAD/ ON FIRE
I\arratives:
               FLATBED I8 WHEELER.- VEH 1S ON FIRE
               DRIVERAPPEARS TO HAVE MADE IT OUT
               EOC i0l7
                                                                          FIRE AS WELL; FFIO6
               FLATBED HAS GONE OFF THE ROAD INTO THE TREES AND THAT'S ON
               ADV THEYNEEDATANKER
               CORONOR I017
               BUTCH IS HEADED THAT WAY
               LISA IS IOI7
               ADMIN PAGE SENT
               ENC l1 1023
               ENG I IS OUT OF WATER
                                                                           THE MAN POWER
               CALLING FOR ]ONES CO TANKER FOR WATER ONLY. THEY DONT NEED
               JONES CO IS SENDINC A TANKER
               THE PATIENT THAT REAR ENDED THE 18 WHEELER IS COINC WITH AAATO
                                                                              FGH

               JONES SW IS ON THERE  WAY W]TH A TANKER PER CD3
               CDI ADV TO STOPTRAFFIC. THEYARE SHUTTINC DOWN 59
               TMFFIC STOPPED ON 59
               OPENINC TRAFFIC BACK UP
               r8-3 IS r023 ( LISA KLEM)
               F52 IS HANDLINC TRAFF1C AT 59 AND MONROE RD


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                                                                                                    CLT-HOWARD-OOO9O2
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Disp.: FR-FIRE RESPONDED
Zones   - Law: N         Firer NF   EMS: M           Rescue:
Resnondins Unit(s)                  Case / Run #          Received       Digpqfched   Eqroute      On-Seelte  Cleq,red Call
SHEzuFF F52                                               9:33:38 AM     11"47'.42 AM 11',47:42 AM 9:33:38 AM 11:47:46 AM
 FFI06                                                    9:14:46 AM      9:14:46 AM                9:15:46 AM 6:16:43 PM
 FFlI6                                                    9:10:31 AM      9:10:31 AM 9:'11:10 AM               9:42:54 AM
MACEDONIA MACI                                            9:'10:50 AM     9:10:50 AM 9:11:14 AM     9:22:57 AM 7:10:51 PM
N FORRESTNFOI                                             9:1'l:06 AM     9:11:06 AM 9:11:17 AM     9:23:08 AM 7:10:56 PM
N FORRESTNFOVFD                                           9:08:33 AM      9:08:33 AM

Event Type: 1054 - ANIMAL CALL                   Date / Time: 912712017 9'.47'.40 AM CAD  2A11-11428         #:
Event Location Info / Location: / MORRISTON AND OLD RICHTON
Name: NICOLE REMERO                   Phone: (601)325-6094
Call Location: MORRISTON AND OLD RICHTON
Remarks: SMALL DOc HAS BEEN HIT BYA CAR, AND HURT. RP WANTED SOMEONE TO CHECK ON IT. lF ITS STILL
           THERE WE WILLCALLSOUTHERN PINES OUTTHERE.
Naratives:
              WENT ALL THE WAY TO CRAFT ROAD AND NEG CONTACT WITH THE DOC
Disp.: NR-NO REPORT
Zones   - Lawl           Fire:       EMS:            Rescue:
Resnonding Unit(s)                  Case / Run   #        Received Dispatched Enroute On-flcqn.e Cleared Call
SHERIFF F5I                                               9:4952 AM 9a9'52 AM 9:49:57 AM 10:13:36 AM 10:17;59 AM

Event'Ilpe: 1062-AMBULANCEREQUEST Date/Time: 912712017 l0;32:35AM                                        CAD #: 2017-11429
Event Location Info / Location: I 20 J A MCGILL DR
Name: DIFFICULTY BREATHING Phone: (601 )270-0825
Call Location: 428 SUNzuSE RD
RCMATKS: MALE WITH CONGESTIVE HEART FAILURE AND RENAL FAILURE HAVINGDIFFICULTY BREATHINC"
                                                                                 TURN LEFTAT THE
           COLD SWEATS, CLAMMY, 1 1/2 FROM VFD ON LUTHER CARTER RD, MOBILE HOME,
              FORK IN THE ROAD
Narratives:
              AAA IO23
Disp.: FR-FIRE RESPONDED
Zones    - Law: E        Fire: SU    EMS: AA         Rescue:
Resnondine Unit(s)                  case / Run   #        Received Dispatched Erroute 9rylf=t - - cleared call ,
 FFIII                                                    10:37:E AM ll'fr3ilAM 10:37:46 AM 10:44:05 AM 11:03:47 AM
 SUNzuSE SUNVFD                                            10'.37 17 AM 10:37:17 AM

                                    FOLDER        Date / Time:           9D7D017 11'.22:43 AM            CAD #: 201"1-11430
Event Tlpe: ORANGE - ORANGE
Event Location Info / Location: / PINE BELT/ 1gTH
Name:                                    Phone: ( ) -
Call Location:
Remarks:
Narratives:
Disp.: IT.CRISIS INTERVENTION TEAM
Zones    - Law:          Fire:       EMS:            Rescue:
Resnondine Unit(s)                  Case / Run #          Received Dispatched          Enroute 0n:Scene Cleared Call
SHERIFF F21                                                11'.22:54 AM 11:22:54 AM    ll:ZZ:Sq N'ti 11'22:54 AM 1'l:55:53 AM
SHERIFT'F26                                                f:23:A7 AM 11:23:07 AM '11:23:07      AM 11:23:A7 AM 11:55:57 AM
                                                         Date /   Time: 912712017 I l:40:42 AM           CAD #: 201'l-11431
EventType: ORANGE -ORANGE FOLDER
Event Location Info / Location: / PINE GRV
Name:                                     Phone: ( )
Call Location:
Remarks:
Naratives:
Disp.: IT.CRISIS INTERVENTION TEAM
 Zones   - Law:          Fire:       EMS: Rescue:
 Resoondins Unit(s)                  Case/Run# Received                   Disnatched. Enroute        On:Scene Cleared Call

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                                                                                                         CLT.HOWARD.OOO903
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SHERIFF FI02                                               11:40:55 AM '11:40:55 AM 11:40:55 AM 11:40:55 AM 11:55:24 AM

Event Tlpe    :
             1050 - MoToR VEHICLE ACCIDENT Date / Time: 91211201'7 I l:45:55 AM                         CAD #: 2017-11432
Event Location Info / Location: / I 5S NB/ MM 56
Name: 2VEHW/INJ                            Phone: (706)887-8213

RemaTKs: I VEH PULLED OFF THE SHOULDER AND HIT ANOTHER HEAD ON
Narratlves:
              ONE CAR HAS A POSSIBLE ARM BROKEN
              DIXIE RESCUE IO17
              AAA IOIT
              F52 ADV 2 INJURIES. 1 WALKINC AROLTND, 1 STILL IN THE VEH
              I LANE OF TRAFFIC BLOCKED
              HIGHWAYIS SHUTDOWN
              GOT THE SUBJECT OUT OF THE CAR
              FFIO9 RIDING WITH AAATO FGH WITH PATIENT
Disp.: FR-FTRERESPONDED
Zones- Law: S Fire: Dl                 EMS; AA Rescue:
         Unit(s)
Resnondins                            Case / Run   #       Received Disp4tqltsd       Enroute       On-Scene Cleared Call
                                                                                                    11 57.29 AM 1:11:53 PM
DIXIE DIxl                                                  11:48"11AM 11:48:11 AM 11;48:'11 AM
DIXIE DIXVFD                                                11:46:41AM 11:46:41 AM
                                                                                                    12:08:12 PM 12:34:22 PM
SHERIFF Fl7                                                 12:08:10 PM 12:08:10 PM
                                                            11:47:52 AM 1'1:47:52 AM 11:47'.52 AM   11:52:25 AM 12:34:19 PM
SHERIFF F52
                                                            12:08:03 PM '12:08:03 PM                12:08:15 PM 12:34:25 PM
SHERIFF F70
                                                            12:11:35 PM 12:11:35 PM 12:11:35 PM     12:11:35 PM 1:11:47 PM
FFl09                                                                                                           12:11:38 PM
FFI 12                                                      11:50:08 AM 11:50:08 AM 11:50:08 AM

Event Tlpe: 1050 - MOTOR VEHICLE ACCIDENT Date / Time:                  9D712017 l2:32:38 PM            CAD#: 2017-11433


Call Location: 1068 MONROE RD
Remarksr 2 VEHICLES, SEMI VS PICKUP, NO INJURIES, ROADS BLOCKED
Narratives:
                  PER CD7. ALLNFO UNITS WERE TOLD TO STAY ON SCENE OF THE
                                                                                      FIRE AND HIGHWAY PATROL
                  WOULD HANDLE THE TRAFFIC
Disp.: FD-FIRE DID NOT RESPOND
Zones   - Law: N           Fire: NF EMS; AA            Rescue:
Resnondins Unit(s)                     Case / Run #        Received Disoatched Enroute On-Scene Clqqqd=94l-
N FORREST NFO2                                              tz'sa,za PM 123236'FM 12:34:42PM                    12:36:33 PM

                                              Date / Time: 9/2712A17 1:48:54 PM                         CAD #: 2017-11434
rr.nt rypr, 1081 - SUSPICIOUS PERSON
Event Location Info / Location: / BROADWAYAND HARDY
Name:                                       Phone: ( ) -
Call Location:
Remarks:
Narratives:
                  LINDA FOSTER 3/IOI2OOO
                  NO RECORD ON LINDAFOSTER WITH THAT DATE OF BIRTH
                  NCIC RESPONSE
                  37303.
                  DMVWS 6868 l3:54:39 09/27111
                  DR.MSOLN0000.MSo I 8000 l.
                  oLN/41 8062258
                  OLN/802382390 CLASS/Regular Opemtor
                  LAVICNE SUBRINA LYNN
                  305 LAKE HEATHER ROAD         BRANDON MS 39O47OOOO
                  MC/W SEX/F EYE/Green HAI/Brown HCT/503 WGT/140
                  RESTRICTIoNSNoNEENDoRSEMENTSNoNEELIGDATE/00000000

                                                            PageTofl5


                                                                                                         CLT.HOWARD-OOO904
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                   STATUS NON-CDL: Expired            STATUS CDL:UNLICENSED
                   CONVICTED OF          OCCUR.DT CONV.DT COM/HAZACC ENF-AGENCY DISP
                   DRIVING W / SUSPEND LIC 071816 082416 N           NN Petal CLT   PD
                   NOPROOF OFLIABINS 110913 l10913NN N RankinCountvSO FTA
                   *I END OF DRIVERS HISTORY *f
                   M&l 247 4461 37303 0008 l3 :54:40 0912'l I 17
     Disp.: NR-NO REPORT
     Zones   - Larn:         Fire:         EMS:            Reseue:
     Resoondins Unit(s)                  Case / Run    #       Received Dispatched Enroute     On-Scene Cleared Call
     METRONARC MI                                              1:49:48 PM 1:49:48 PM 1:49:48 PM 1:49:48 PM 1:54:57 PM

     Event'Ilpe: l0?0-BURCLARY                                 Date/Time:     912712017 l:50:24 PM    CAD #: 2017-11435



     Call Location: l l DIXIE BARN RD
     RemaTks: SOMEoNE BROKE IN AND STOLE A PRESSURE WASHER. THE FENCE WASCUT, SOMETIMES LAST NICHT
                   NEEDSAREPORT
     Narratives:
     Disp.r NR-NO REPORT
     Zones - Lawl S Fire: Dl               EMS: AA Rescue:
     Resnondins Unit(s)                   Case / Run   #        Received Disrratched Enroute 9o{.!1u.- - Cleared Call
      SHERIFT F7O                                               151:43 PM 15S'.28 PM 1:58:31 PM 1:59:44 PM 2'37:32PM

     Event Tlpe: 1083 - TRAFFIC STOP                Date I Time:               9/2712017 l:53:03 PM   CAD#r 2017-11436
     Event Locatlon lnfo / Location: / MACEDONIAAND BOLLING
     Name:                                      Phone: ()-
     Call Locetion: MASEDONIAAND BOLLING
     Remarks:
     Narratives:
                   001593630
                   00 I 593630
                   D870567
\-                 NCIC RESPONSE
                   37303,
                   DMVWS 6830 l3:52:13 09127/17
                   DR.MSOLN0000.MSo1 8000 I .
                   oLN/00 I s93630
                   OLN/001593630 CLASS/Regular Operator
                   HERRINGTON FRANCES ELENOR

                   RACIW SEX/F EYETGray HAVCrav HGT/502 WGT/i46

                   RESTRICTIONSNONE ENDORSEMENTSNONEELIG DATE/OOOOOOOO
                   STATUS NON-CDL:Licensed STATUS CDL:UNLICENSED
                   ..* END OF DRIVERS HISTORY *I'
                   M\|2414134 37303 0004 13.52:14 A9D7l17
                   NCIC RESPONSE
                   37303.
                   HDI 2570 l3:53:04 09127117
                    RR.MSHDI0000.MS0 I 8000 l.
                    VIN/4T4BF 1 FK8DR305O87
                                               *MP.l247 4230,
                    RR.MSLIC0000.MS0 I 8000 1.
                    ,I{.** DFCORDS MAINTAINED BY MS TAX COMMISSION ****
                    LIC/D870567 LITIDB EXP/05.20 I 8 ISSUED/O5O92O I 7 TAG STATUS/1
                    VIN/4T4BFIFK8DR3O5O8? 20I3 TOYTCAM 4D SILVER
                    PUR-DTE/o5092013TLE.DTElo6262ol3TLE/G554656TYPE/o
                    REG/SMITH FRANCES            TLE/SMITH FRANCES
                    8I2 SUNRISE RD                812 SI.INRISE RD
                    PETAL MS 39465                PETAL        MS 39465
                    COIFORREST              CO/FORREST                   #LETNS/1


                                                                Page8ofl5


                                                                                                      CLT-HOWARD-OOO905
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                   LErN/l DTV05092013               LEINz DT8100000000
                   TOYOTA MOTOR CREDIT CORP
\-                 PO BOX 105386
                   ATLANTA CA30348
                   DECAL#/8DB70567
                   Insurance Status/CONFIRMED Insurer/Mississippi Farm Bureau Cas lns Co
                   Policy/A0720813
                   MRl2474234 37303 0007 l3:53:05 09127111
     Disp.: WA-WARNINC
     Zones   - Law:            Firer       EMSI            Rescue:
     Respondins Unit(s)                   Case / Run   #       Received Dispatched           Enroute On-Scene Cleared Call
      SHERITF FI I                                                 1:53:03   PM 1:53:03 PM   1:53:03 PM 1:53:03 PM 1:55;44 PM

     EventTlpe: 1083 -TRAFFICSTOP                              Date /   Time: 9/2712011 l:57:48 PM
     Event Location lnfo / Location: / ELKS LAKE INFRONT OF WARREN PAVEN
     Name:                                  Phone: ( ) -
     Call Locationr ELKS LAKE INFRONT OF WARREN PAVEN
     Remarksr
     Narrativer:
                   WHITE FORD NO IO28 F25O
     Disp.: WA-WARNING
     Zones   - Lart:           Fire:       EMS:            Rescue:
     Resnondins Unit(s)                   Case / Run   #        Received Dispalched Enfoute      On-Scene Cleared Call
     SHERIFF F7O                                                1:57:48 PM 1:57:48 PM 1:57:48 PM 1:57:48 PM 1:58:21 PM

     EvenrTlpe: 1083 -TRAFFICSTOP                              Date/Time: 9/271201'1 2:01:45 PM              CAD#:2017-11438

     Name:                                      Phone:       ) -

     Narratives;
                   VOL. WAGON NO 1028
                   CODE 4 AND OTHER UNITS OUT WITH HIM. SEVEMLARE DETAINED
                   802281018
                   NCIC RESPONSE
                   37343.
                   DMVWS 7006 14:05:59 09127117
                   DR.MSOLN0000.MS0 I 8000 1.
                   oLN1802281018
                   OLN/425650077 CLASS/RegularOperator
                   CLARK DAVID                BRYAN
                   70 HINTON LOOP                PETAL MS 394650000
                   RACAV SEX/M EYE/Brown HAI/Brown HGTrcAz WGT/!90


                   STATUS NON-CDL:Expired STATUS CDL:UNLICENSED
                   CONVICTED       OF OCCUR.DT CONV-DT COM/HAZ ACC ENF'AGENCY                         DISP
                   VIOLCNTRLSUBSACT 07I3I'I 0823I7NN N PCTAIPD CLT
                   DUI I ST OFFENSE 091215 09 I 41 5 N N N Forrest County SO GLT
                   DzuVING W / SUSPEND LIC 091215 091415 N N N Forrest county So cLT
                   CARELESS DzuVING Agnls 091415 N N N Forrest County SO CLT
                    ** END OF DRIVERS HISTORY *'T
                    ** STATE SPECIFIC DATA **
                    ALERT: ID Card ONLY:802281018
                    MRI 2475761 37303 0009 l4:05:59 A9D7ll7
                    VIN WVWMD63I3O3E310999. NO RECORD
     Disp.: WA-WARNINC
     Zones   - Law:            Fire:       EMS: Rcscue:
     Respondine Unit(s)                    Case/Run# Received                    Disoatched Eqroute      On-Scere Cleared Call

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                                                                                                             CLT-HOWARD-OOO906
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METRO NARC MI                                               2:0'1:45 PM 2:01:45 PM 2:01:45      PM 2:01:45 PM 2:34:59 PM
                                                          Date/Timer 912717017 2:56:28PM               CAD #r 20t7-11439
Event'Ilpe: 1071 - FIRE
Event Location Info / Location:    / ELKS LAKE RD/S OF DIX SCHOOL
NamC: SMALLGRASS FIRE                     Phone:

Remarks: +31 14.24 -89 18.75
Narratives:
Disp.: FR.FIRE RESPONDED
Zones   - Law: S       Fire: Dl        EMSI M          Rescue:
Respondins Unit(s)                    Case / Run   #        Reqeive$ Dispatchel Enroute              On-Scene Cleared Call
                                                            2:58:06 PM 2:58:06 PM                    3:05:06 PM 3:2347 PM
 DIXIE DIXI
 DIXIE DIXVFD                                               2:57:15 PM 2;57:15 PM

Event 1}pe: 1049 - CENEML COMPLAINT                        Date / Tirne: 912712017 2:58:39 PM            CAD#: 2017-11444
Event Location Info I Location: /


                                                                       WITH HER FOR 26 DAYS' UP
RCMATKSI RP WANTS A REPORT. ADV THAT SHONTELL MCPHAIL HAS BEEN LIVINC
                              AND LEFT HER CAR, SHE WANTS THE CAR OFF HER PROPERTY' IO28 JDI671
         AND LEFT 2 DAYS ACO,
Narratives:
              RP WAS ADV THAI SHE COULD TOW THE VECH, AND SHE
                                                                              IS DEMANDINo A REPORT BECAUSE SH
              E DONT WANT TO BE ACCUSED OF STEALING. RAN THE TAG AND
                                                                     NO RECORD AND DOES NOT CO
              ME BACK
              RP WAS ADV THAT THE OFFICERS WERE ON ANOTHER CALL
                                                                                    AND IT WOULD BE A LITTLE WHILE
              . SHE WAS OKAY WITH THAT
                                                                              IS NOT 1084' SHE
              Fl I ADV FOR F7O TO JUST RUN THE VIN AND MAKE SURE THAT THE CAR
              CAN HAVE ITTOWED, ALLACIVALMATTER
              ADV F7O OF CAD CALL II44O HOLDING
              NCIC RESPONSE
              37303.
              HDI 3291 l5:55:01 09127 ll'l
              RR,MSHDI0000.MSo1 8000 I .
              VIN/1 FAFPs5UXYA I 35738
              RR.MSLlc000o.MSo I 8000 l.*MRI2490773'
              **** RECORI]S MAINTAINED BY MS TAX COMMISSJON ****
              LIC{DG835LIT/AUExP/02-20l5ISSUED/022720l4TAGSTATUS/I
              VIN/IFATPssUXYAI35738 2OOO FORDTAU 4D RED
              PUR-DTE/ I I 2520 I I TLE.DTEIOI|'}O:I} TLE/FO I6822
                                                                   TYPE/T
              REGMCPHAILeRITTNgy&DUSTINTLE/MCPHAILBRITTNEY&DUSTIN
              26 TERRELL POLK LANE                     26 TERRELL POLK LANE
              PRENTISS M539474                     PRENTISS MS 39474
                                             CO/SIMPSON                  #LEINS/I
              CO/JEFFERSON DAVIS
              LETN/I DTE/II252OII                  LEIND DTEIOOOOOOOO
              TITLE CASH INC OF MAGEE
              IOI ISTAVE SE
              MAGEE MS 39I11
               DECAL#/sJDG835
                                                                                        When
               1n,,,*'. StatusruNCoNFIR.MED Instructions/Manually Check Insuralce Card.
               rltlrg.frr.t"[]OtherViolations"ontheUTCenter"63-16-5"inthe"Code
               Section" space.
               MRI 2490785 37303 0025 l5:55:03 09/27111
                                                                              HE THINKS THE R/P IS TRYING To
               Fl7 ADv HEADVISED rrlr_n,lp ro HAVE IT ToWED; ADV
               KEEPTHEVEHASCOLLATERALANDWANTSTHESHERIFF'SoFFICETooKAYIT.
 Disp.: NR-NO REPORT
       - Law: S Fire: Dl                 EMS: M         Rescuel
 Zones
  Respondine Unit(s)
   SHERIFF F17
                                        Case / Run #         Received
                                                                 3:44:17 PM   T##d*       ffir* ffi*,ffi*'
                                                            Page l0 of l5



                                                                                                          CLT.HOWARD-OOO9O7
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                                                          Date / Time:         912712017 3:35:55 PM   CAD #r 2011-ll44l
EventTlpe: 1032-FOLLOWUP
Event Locstion Info I Location: I
Name:                                       Phoner       )-
Call Location:
Remarks:
Narratives:
              CATES LOCKED
              DROPPED OTF 2 BAGS OF DOC FOOD FOR SOUTHERN PINE ANIMAL SHELIER
Disp.: NR-NO REPORT
Zones - Law; S Fire: Dl                EMS: M          Rescue:
Resnondine Unit(s)                    Case / Run   #       Rpceiv-ed Disnatchqd, , Enroute   On-Qcene Cleared.Cal.l
                                                                                                     prvr 3s7sa PM
SHERIFF F52                                                i:36;1S PrU 3:36:15 PM 3:36:15 PM Is6jj-s
                                                                               912712017 3:47:56 PM   CAD #: 20t7-11442
Evcnt Type: 1032 - FOLLOW

Name:                                        Phone: ( )
Call Locationl
Remarks:
Narratives:
              FL GEQ134- NCIC HTT OUT OF TUSCALOOSA
                                                                              ONE COMING TO DOOR
              F5I ADV HE KNOCKED ON THE DOORAND HEARS DOGS BARKINC BUTNO
                                           MANAGER       AND HE SHOWS THE TRAILER WAS STOLEN OF
              FI l ADV HE'S WITH THE UHAUL          HERE
                                                                  MANAGER COME  PICK THE TRAIL
              F THE LOT IN TUSCALOOSA; ADV HE'S GOING TO HAVE THE
              ER UP.

              :::: Y::.:):: .-. HIT N OTIFICATION
                              -------- RUN BY USER: H?6283
              37302.
              NCIC 21595 l5:59:26 09127/17
              I L0103TR,MR12491404
              MSo180001
              MKE/STOLEN VEHTCLE
              oRvAL0630 I 00 LIC/GEQ I 34 LIS/FL LIY20 I 8 LIT/TL
              vIN/l 4HU I 220 I YCAT5040 VYRI2000
              VMA/UHAU VMOITL VST/AC VCO/RED DOT /20 I7 O7 12
              ocNt707t2l68
              OPTIOUT
              NIc^/69935283,7DTElzona7122022EDTDLU20l7a1]22a22EDT
              Ozu IS TUSCALOOSA PD 205 349-2121
              IMMED CONFIRM RECORD WITH ORI
              MRI249l40? 37302 0007 15:59,26 0912711'l
              NCIC RESPONSE
              3',1302.
              HDI 3317 l5:59:43 09Ull7
              RR.MSHDI0000.Ms0 1 8000 1.
              vINl2G 1 WT57K29 tzt 6 t 56
               RR.MSLIC0000.Mso I 8000 l.*MRI249 I 449'
               '}***RECoRnSMAINTAINEDBYMSTAxC0MMISSIoN****
                         -                             STATUS/I
               LIC/FTP543      iITIAU EXP/03-201 8 ISSUED/032320 I 7 TAG
               vlN/2C1WT57K2gt2r6l56 2009 CHEV IUr 4D BLUE
               puR-DTE/03, tZO fi T]-e-orE/os I 020 I 7 TLE/F09489 I TYPE/T
               REC/OWENS       EDITH               TLE/OWENS EDITH
               206 W 1STAVE                    206 W ISTAVE
               PETAL       39465 PETAL MS 39465
                          MS
               CO/FORREST CO/FORREST #LEINS/O
               LErNll DTE/00000000 LEINI2 DTE/00000000
               DECAL#I8FTP543
                                                                       lnsurance card' when
               Insurance StatusfuNCONFIRMED InstructionvManually check
               .itine.l,''.1.',[]otherViolations,'ontheUTCenter''63.i6.5''inthe'.Code
                 Section" space.

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           Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 43 of 56



           Mzu 2491460 37302 001I l5:59:45 09/2711'7
           ADV TUSCALOOSA PD OF PLAN TO RELEASE VEH TO UHAUL, SHE ADV THAT WAS FINE; THEIR
           CID OFFICER HAS ALREADY LEFT FOR THE DAY BUT SHE WILL LET THEM KNOW TO CONTACT U
           STOMORROW,
           NOTIFIED F35
               HITCONFIRMED
           NCIC RESPONSE
               37303.
               DMVWS 8593 l6:08:16 A9D7lt'|
               DR.MSOLN0000.MS0l 8000 1 .
               oLN/801893453
               OLN/80 I 893453 CLASSlRegular Operator
               BRACKMAN          ANGELA     DARLENE
               2705 GLENDALE AVE            HATTIESBURG MS 394O1OOOO
               RAC/W SEX/F EYE/Brown HAVElrown HGTI503 WGT/I10

               RESTRICTIONSNONE ENDORSEMENTSNONE ELIG DATEIOOOOOOOO
               STATUS NON-CDL:Suspended STATUS CDL:UNLICENSED
               ** END OF DRIVERS HISTORY **
               MR:t 2492431 3?3A3 AA26 I 6:08: I 7 09127 I l'7
               NCIC HIT-COLUMBIA PD.- ANGELA BRACKMAN
               NCIC RESPONSE
               37303.
               DMVWS 8635 16;11:16 0912'lll7
               DR.MSOLN0000.MSo 18000 I .
               oLN|425391267
               OLN/800558078 CLASS/RegularOperator
               OWENS THOMAS MICHAEL
               3317 W4TH ST3l                 HATTIESBURG MS 394OIOOOO
               RAC/W SEXA4 EYE/Brown HAI/Brown HGT/510 WGT/175

               RESTRICTIoNSNoNEENDoRSEMENTSN0NEELIGDATEI00000000
               STATUSNON-CDl:suspended STATIJSCDL:UNLICENSED
                              OCCUR-DT CONV.DT COM/HAZ ACC ENF-AGENCY                                   DISP
               COWICTED OF
               DUI IST OFFENSE 050416 062116NN N MageePD       GLT
               ** END OF DRIVERS HISTORY *+
               MRr 2492736 37303 0021 I 6: I 1 : 17 A9D1 I 17
               UHAUL REPRESENTATIVE I 023
          CoLUMBIAADVHITISNoTVALID-ITISoNTHELISTToBEREMoVED'
Disp.r RO-REPORT ON FILE
Zones - Law: N    Fire: NF EMS: M Rescue;
Resnonding Unit(s)                       Case/Run# Recgived                     Disparched Enroute On-Scene Cte?letS+tt
SHERIFF Fl 1                                                     4:38:34 PM     7ffiaFu 4:38:34 PM 4:38:34 PM 4:38:47 PM
                                                                 3:48:05 PM     3:48:05 PM 3:48:05 PM 3:48:05 PM 4:38:45
                                                                                                                      PM
 SHERIFF F51
                                                                                912"112017 4;19:31 PM          CAD #: 2017-11443
EventTlpe: ASSAUL- ASSAULI
Event Location Info / Location: I
                                               Phone
                                                                                                                 JUMPED oN
Remarksr BqyFRTEND iievio eorsoN) AND Hrs BRoTHER(JoHN BATSoN) wEREFIcHTING;JoHN
                                                                             ON HIS EYE BUT
         DAVID IN THE CAMPER & WENT BACK TO HIS TRAILER; ADV DAVID HAS A CUT
               REFUSEDAAA
Na rratives:
                                                                                               TO A REPORT
               EVERYONE CODE4, EVERYONE IS SEPERATED AND NO ONE WANTS
Disp.: NR-NO REPORT
Zones - Law: E Fire: SU                    EMS: M         Rescue:
Resoondins Unit(s)                       Case / Run   #         Received Oisrytglte3, , Erroute On-Scene Cleared Cqll
                                                                4:38;56 PM 4:38:56 PM            4:40:06 PM 4:49:44 PM
SHERIFF FI9
SHERIFF F52                                                     4:23:10 PM 4:23:10 PM 4:30:26 PM            4:38:41 PM


                                                                Page 12 of 15



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              Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 44 of 56



                                                          Date /   Time: 9127DAl7 4:33:37 PM              CAD #: 201'7'11444
Eventllpe: LIFT- LIFTASSISTANCE

Name: LIFTASSIST                          Phone: (6Al)467-''1032
Call Locationr 3l MORROW RD
Remarks: LIFTASSIST-- APPROX 360-370 LBS
Narratives:
              AAA IOIT ALSO
              AAA IO23
Disp.: NR-NO REPORT
Zones - Law: S Fire; Dl                EMS: AA      Rescue:
Respondine Unit(s)                   Case / Run #          Rereived         Disnatched Enrqute       On-Scene Cleared C-all
 DIXIE DIXI                                                 4:37:55 PM      4:37:55 PM 4:37:55 PM    ?aozs P[a s's314 PM
 DIX]E DIXVFD                                               4'.34.42?M      4:34:42 PM
                                                            4:47:59 PM      4:47:59 PM 4:47:59 PM    4:47:59 PM 5:03:24 PM
 SHERIFF FI I4
                                                            4:40:23 PM      4:40:23 PM 4:40'.27 PM   4:41:08 PM 5:03:27 PM
 SHERIFF FI7
                                                                            9/2712017 5:14:04 PM          CAD#: 2017'11445
Event Type: 1050 - MOTOR VEHICLE ACCIDENT Date / Time:
Event Location Info / Locationr / RAWLS SPRINGS RD
Name: SMITH,      BONNIE              Phone: (601)606-6825

Remarks: 2 VEHICLES WITH INJURIES
Narratives:
              RPADV SHE WAS REAR ENDED
              RPADV SHE IS NEAR THE CHURCH ON MWLS SPRINGS RD
              AAAIS IO23
              NCIC RESPONSE
              37303.
              DMVWS 9484 17:32:52 09127/11
              DR.MSOLN0000.MSo I 80001 .
              oLN/802459355
              OLN/802459355 CLASS/RegularOperator
                                   N     DUNCAN
                                         SEMINARY MS 39479OOOO
              neC/w SDVM EYElHazel HAI/Brown HGT/601 wGT/240
              RESTRICTIONSNONE ENDORSEMENTSTNONE ELIG DATE/OOOOOOOO
              STATUSNON-CDL:Licensed STAIUSCDL:UNLICENSED                                          DISP
              CoNVICTEDoFoCCUR.DTCoNv-DTCoM/HAzACCENF-AGENCY
              iieeor1c 20 ovER Mpi I10516 0124t? N N N Hattiesburg PD GLr
              {.i END OF DRIVERS HISTORY **
              MRI 25001 19 37303 0045 l7:32:53 09127117
              NCIC RESPONSE
              37303.
               HDI 37 66 l7 :34:3 5 09 D7 I l7
               RR.MSHDI0000.MS0 I 80001 .
               v IN/ I C6DMs7 7 3 40 1 83232
               RR.MSLIC0000.MSO I 8000 I .*MRI2500235.
               **** RFCORDS MAINTAINED BY MS TAX COMMISSION ****

               VfNltCOOtttSln4Al.f.3232 2004 CADI CTS 4D0 WHITE
               ptin-oreloe r g2008 TLE-DTE/os I 22008 TLEI c25 63't I TYPEIT
                                                                                 JAMES R OR EATON BONNIE
               REG/I{ARPER JAMES N ONiATOU BONNIE TLEiHARPER
                                        7 COOKSEY LANE
               HATTIESBURG MS394029I65                HATTIESBURG MS 39402
               CO.lrORREST              CO/FORREST                    #LEINS/1
               LEINiI DTE/04182008               LEINz DTE/OOOOOOOO
               SOUTHERN MISSISSIPPI FEDERAL C
               3318 HARDY STREET
               HATTIESBURG MS 3940I
               DECAL#I8FRR728
                                                            Page 13 of 15



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                  Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 45 of 56



                  Insurance StatusICONFIRMED Insurer/Shelter Mut Ins Co
                  PolicYl23- I -009732825-000 I
\-.               MRI 2500240 3?303 0048 l'1"34.36 09127t1'7
                  NCIC RESPONSE
                  37303.
                  DMVWS 9506 17:34:50 09121117
                  DR.MSOLN0000.MSo I 80001 .
                  oLN/801080088
                  OLN/SOl080088 CLASS/RegularOperator
                    SMITH BONNIE CLAIRE
                                                  HATTIESBURC MS 394O2OOOO
                    RAc,wSEX/FEYE/CreenHAI/BrownHGT/504wGT/i56
                    NEiTNTCTTONSNONE ENDORSEMENTSNONEELICDATE/OOOOOOOO
                    STATUSNON-CDL:LicensedSTATUSCDL:UNLICENSED
                    ** END OF DRIVERS HISTORY **
                    MRI 2500285 37303 0049 I 7:34:50 A9127 I 17
                    F5?ADVNILFoRrrrgcr{svANoPEANUTSowNERsREQUESTFoRTHECADI
                    PEANUT'S 1O-23
                    MARTINS IO23
      DiSP.: FR.FIRERESPONDED
      Zones- Law: N Fire: RS EMS: M Rescue:                                   On-Scene Cleared Call
                                                      Disoatched Enroute
      Resnonding Unit(s)     Case / Run # Received
                                                   PM siio'l7 Pivl 5:17:10
                                                                   5:16:47 PM 5:24.25?M 6:17:39 PM
      SHERIFF F57
                                                                                   5:16:26 PM 5:16:26 PM      5:19:05 PM 6:12:00 PM
                                                                   5:16:26 PM
      RAWLS SPRING RSPI
                                                                   5:'16:13 PM     5:'16:'13 PM
      RAWLS SPRING RSPVFD
                                                                  Date I Time:     9D7n0l7 6:58:27 PM            CAD #: 2017-11446
      er.tttryp., THREAT - THREAT OF ANY KIND-
      Event Location Info / Location: /
      Name: VALENTINE, VICTOzuA                   Phone: (228)3554219
                                                                                                        HER AND sHE IS wANrINc
      fi:*"1"ff""J*rf'$"tJi'rtflll?trlYr R..MMATE AND HE MADE rHREArs rowARD
                    TO SPEAK TO AN OFFICER.
      Narratives:
                     Fr 14 ADV THE' HA,E BEEN ADv        ro Go ro JUSTICE couRT To HANDLE EVERTHING'
      Disp.: NR-NO REPORT
              - Lawr S         Fire: MC       EMSI M        Rescuet
      Zones
                                                                                   Disnatched Enroute        On'Scene Cleared Cgll.
      Respondine Unit{s)
       SHENFF FII4
                                             Case / Run #        Received
                                                                    7:07:22 PM ffiPM ffiaPv zoz:sz Pru  7:41:19 PM
                                                                                          PM 7:30:21 PM 7:40:46 PM
                                                                    73A'.21 PM 7:30:21 PM 7:30:21
       SHERIFF F37
                                                                  Date / Time:     9n1\0l7 7:15:41 PM             CAD#: 2017-11447
       eruntfyp.t I 062 - AMBULANCE REQUEST.
       Event Location Info / Location:
       NAMC: HEART PATIENT                         Phone:
       Call Location:
       Remarks:6TYoAMALEWITHAPACEMAKERFELLANDISBLEEDINGFRoMTHEINCISI0N
       Narratives:
       Disp.: FD-FIRE DID NOT R-ESPOND
              -
       Zoner Law:       E  Fire:       MA
                                       EMS:            M     Rescue:
                                                                                                              On-Scene Cleared Call
                                      Case / Run #                Received          Dispatched Enroute
       Respondine Unit(s)                                                           7:20:09 PM
                                                                     7:20:09 PM
        MACEDONIA MACVFD
                                                                   nate I   time: 9D712017 8:48:08 PM             CAD#: 2017-11448
       EventType: 1046 - GENERALALARM
       ;;::l;H;"ffi;;ffi;il                sEcuRrry BLANKET 8004344000 / e7 wELDY RD
       Xame: MCNAI& SHARCCARA Phone: (601)329-4374
       Call Location: REF# 1769610 OPR# SPl l
       R"*art s: PANIC ALARM SILENT NEGATIVE CONTACT
       Narratives:
                      ALARMCoMPANYCALLEDAGAINCoNCERNINGTHESAMESIGNALFoRANoTHERALARM
                      FI14ADvTHATTHEHoMEowNERSTATEDTHATHERALARMWASNToN
                                                                   Page 14 of 15



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              Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 46 of 56




Disp: NE-NO*EPORT
f,ones- Lsrvl S Fi'rc: Dl         EMS: AA Recue:**mpu
Reerondtng llnt{s)
SHERIFF FI14                     ".1L1'*,,1i                        ffi        ffipr,r S#zputrffi,
                                                                    gn1n|n l0:@:01 PM         cAD#: 70fi't1449
                                              Iln&/Ttuie:
nruntrYP.t 1046 - GENERALALTIY
i"ent dauon lnfo / Location: / 97 WEIDY RD
Name: STIARCARRAMCNAIR              Phons (601)3294374
                                                                                        oN scENE. 8m4344000
i:*ffi-rJ*1fiffiff-KEr opER # sDoe ADV srLENr pANrc ALARM' NBG coNrAcr
              REF 1769610
Narratlvso:                                           CAR'NA
              r I I 4 ADV 60 I 528 1 696 BELONGS TO SHARA                                    BE ANY CAL
              F114 ADV TI{AT THEY SPOKE WTTTT
                                                    ffiNT'ERM COMPANY & THAT THERE ST{OULDNT
              LS COMING FROM TT{ERE ANYMORE'
Disp.: NR-NOREPORI
Zones- Law: S                      &MS: AA
                 Fire: Dl                       Rercuc:

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 SHERIFF FI14
                                  Cape / Bun#       nccdved     Di$patched
                                                    10:12:09 PM 10:12:09 PM    ffifrPMmr*ffi#'
  Total Remrds: 36




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                     Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 50 of 56

                                         FORREST COUNTY SHERIFF'S OFFICE

        ffi
                                                       55 Arena Drive
                                                    Hstiesturg MS,39401
                                                       601-544-7800


     Case Number;            201711423               o.Rr   * Ms0180000

     Additiorel SCANNED DOCUMENTS
i Description: COURT SUMMON                                     Filename/URL:
i..-.-.--'--"-.--.
i Description: NOTICE OF SEIZURE                                Filename/URL:

! Descrlption: NOTICE OF SEIZURE 2
i.. -..-....,..... - -.-.,
                                                                Fllename/URL:

i Description: ORDER OF SEIZURE                                Filename/URL:
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t-
    Deacription: Use of Force 2 of 2
iI.--,...,..,.,.,...-.-.                                       Fileflame/URLi

; Descriptlon: Use of Force Report 1 of 2                      Filename/URL:




                                                             Page 4 of 4
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                            Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 51 of 56
                                                                                                 FOBREST COUNTY                                            lncidenl Number A
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                    Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 52 of 56

       FORREST COUNTY DETENTION CENTER                                                                           Facility Admission Report
       55 ARENA DR-.HATTESBURG, MS 39401
       Phone: (601) 544-7800


       Boohiryf                                  &see          Offeader N*mq LEGGETT, ANTRINETTE
       2012t74552                                  72321                  Alias:                                 Maiden Namc:
                                                                           SSN:
                                                                   Birtt Placs MS                                ,","Ti[1,1X:L
                                                                      Address:                                            Age:.39
                                                                           Ctty:                                Marital Strtus:
                                                                          State: MS                              # of Children: 0
                                                                     Zip Code; 39401                               Nationality: American
                                                                        Phone                                       US Citizrn: L7
                                                                   Occupationi

                                                                           Sex: Female                          Hrir Colon Black
                                                                          Race: Asian                            Eye Color: Brown
                                                                        Height 5' 4'                            Complexion: FAR
                LEGGETT, ANTRINETTE                             Weight (lbs.): 170                                   Build: L
                                                              Other Feltures: N/A
             Arresting Authority: FORREST CO!.NTY SHERtrF'S OPFICE                            Telephone Cell: YES
                Arresting Officer; BASS BLAKE                                                 Number Called: (6Al) 447 - 4692
                Searching Officer: CAII'I'ER SONGE                                           Cell Assignment:
                 Booking Otficer: CARTE& SONGE                                                 Classilication: MTSDEMEANOR
                 Book Dete/Time: 0912712017 09:38                                          County of Charge: Forrest
          Lest Rebook DatelTime:                                                            Billlng Agencies:
      Booking Assistant OfTicer(s)


     Property Storage Location(s): PROPERTY ROOM
         tect Information
                                                                                                                         Phone             Emergency
\-   Relation                Name                             Address
                             DARIOS LEGGEIT                                                                                                   u
     Current
     Casc #:                         Case Bond Type:                                     Case Bond Amount:

      Chrrge Cme   # Chrrge Code Counts    Dcscription                                 CitrtionlControl # Cherge Bond
                     9?-35-7       I DISORDERLY CONDUCT.FAILUR.E TO COMPI,Y WITrIPOLIC                 -
                     97-9-73       I RESISTh{GARREST
     I certify that the above informatjon is correct io the best of my knowledge.




      Offcnder Signature                                                                 StaffSignature




     l'aciliry Admission Report printed for I"ECGETT. ANTRIMiITE                                          FORREST COIdSTT{dIffiM.]MI6DDBCENTER
                                                                                                                                            Pagc I of I
     JailTracker tD Report Printed On 05129/2019 13: l5 by UserID 4
                    Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 53 of 56
                                         FORREST COUNTY SHERIFF'S OFFICE

         ffi
                                                                          55 Arona Drive
                                                                       Hauieshrrg MS,39401
                                                                              601-544-7800


      Case Number:           201711423                                  ORI #: MSO1800OO



     Day / Dpte / Tjme f Reoorted )                            Day l_DaG / fime ( Ariived )                Dsv / Date / Time ( Cleared )
     Wedn€Eday, Sepbmber 27,2017 8:17 AM                       Wsdnesday, Septomber 27, 2017 8:18 AM       Wednesday, S€pt€rfl bor 27, 2017 I 1:02 AM
     Day / Dat6 i of ,Occurrence )                             To:
     Wodnesday, SeBember 27, z)17 8:18AM                       Wednasday, Septernber 27, 2017 't 1:02 AM
                                                               Zone                                        Municioalitv




     Repo,rlino   Officer:                                     Case Status:
     BASS, BLAKE DEPUTY         [|                             OPEN

     Qrime(s);
     1.)       9741-1 ANIMAL CRUELTY
     2.)       97.3$7 DISORDERLY CONDUCT: FAILURE TO COMPLY W / COMMAND OF TAW ENFORCEMENT
     3.)       97-9,73 RESTSTING / OBSTRUCTTNG ARREST - StMpLE ASSAULT

     Copies To:                                                Follow uo ?:

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     I Detectivo                                               Er.lo
     IJw. Prob.
     EO,A.
     !Other:

                                                                                 Vic|im


          STATE OF MISSISSIPP',
          Victim of : 1: 9741-1 ANIMAL CRUELTY



\-                                                               Mo<tus.Operandi I Crime Analysis
                                                 There is no'Modus Operandi / Crime Analysls'info. for this case.




                                                                                 Pase 1 of4
                                                                                                                               CLT.HOWARD.OOOOO4
                   Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 54 of 56

                                           FORREST COUNTY SHERIFF'S OFFICE

         ffi
                                                                     55 Arena Drlve
                                                                Hatiesbtrrg MS, 39401
                                                                       601-544-7800


     Case-Number:         2017114z,J                                ORI*l: MSO1BWIO


                                                                         ArEstee

     1   Name - Ll-est. First, Middle )                    Oqgupationi                                    Social Spcurity   #       Citizenshio
         LEGGETT, ANTRINETTE
         Addrtsss                                           Phone(s)                                      Drivers Licensa lnfo. ( State   /f / Class)

         D.o.B.:E                         ASe 37           Se* F                                          Race: BLACK OR AFRICAN AMERICAN
         Heioht: 5-I}4                    Wciaht: 170      Hair: BLACK                                    Eves: BROWN
         ArestedFor: 1:97€$TDIS0RDERLYCONDUCT: FAILURETOCOMPLYW/COMMANDOFLAWENFORCEMENT                   DateArfested9l27D0176:17:00AJn
                          2:97-9-73 RESISTING /OBSTRUCTINGARREST -SIMPLE ASSAULT                          Ar6sr.d Rv.

     2   Name - ( Last. Firsl Middle )                     Occuoatlon:                                                      f       Cidzenship
                                                                                                        I
                                                                                                          Soclal SecuJilv


         -*:ilF,-"*,
         LEGGETT, OARIOUS
                                                           Phone(SJ HOME: 1-(601) 297-0291                Driv6r.s Uc€nse hfo. ( State / #/ qhss)


         q..o. s.:   fi996                Ase, 21          Sgx M                                          Rac6: BLACK OR AFRICAN AMERICAN
         H.inht:                          Weioht'          Hair: BLACK                                    Eves: BROWN
         Anestld For: 1: 97-3t7 DISORDERLY CONDUCT: FAILURE TO COMPLY W / COMMANO OF LAW ENFORCEMENT Dato Anested 9127120.17 8:17f0 AM
                      2: 97-$73 RESISTING / OBSTRUCTING ARREST - SIMPLE ASSAULT                      ture.sed Biti



                                                                         $uspect

     1   Name - ( Lasr. Flrst. Middle )                    Occuoation:                                    Social Sscuriw    #       Citlzenshio
         HOWARD, SELENA
         Address                                           Pho0e{6} HOME: 1-(@1) 297{291                 Drivers LlcenF€ lnfo. ( State i # / Class)
                     TTTIESBURG, MS 394(}1

         D.O.B.:-                         Age: 21          Sgx: F                                         Faco: Wl'llTE

\-                                        Weioht:          lleir:                                       - Eves:
         SusDeded Ol: 1: 97-41-1 ANIMAL CBUELry




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                                                                                                              CLT.HOWARD-OOOOO5
            Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 55 of 56

                             FORREST COUNTY SHERIFF'S OFFICE
                                                      55 fuona Drive
                                                  Hattiesburg MS, 39401
                                                       601-544-7800


 Aase..Ssnbe!    201711423                          Oillf: MSolEOOff)

                                                      Narrative(s)

Assigned: 912812017 O5:O3              to officec BASS, BLAKE DEPUTY
Approved: 10/1012017 09:49                  hU. ADAfi,lS, MAII

   On 09-27-2A17 at approximately 0800 hours l, Deputy Bass and Deputy Sumrall conducted a welfare check at
                  in reference to three dogs. A Forrest County employee from District One called in to report
         ogs were being neglected.

   Upon arrival on scene, we came in contact with Selena Howard and Antrinette Leggett concerning the dogs.
After discussing the situation, Ms. Howard stated that the dogs were hers and they were just bad on their luck.
Darious Leggett then came out with being disruptive and immediately was aggressive towards both deputies.

   Mr. Leggett came from the porch area and continued to be aggre$sive and curse at both Deputies. He did
although, undo one of the dogs from a tree it was chained too, where it did not have any food or water. Mr.
Leggett stated that they were bad on their luck and that the dogs were fine, He did try and show deputies that he
had food ,but the bucket he showed deputies had no food in it. Deputies continued to try and calm down Mr.
Leggett and the whole situation as a whole.

   Mr. Leggett continued to be aggressive, at which point we attempted to arrest the subject but he attempted to
fight with Deputies. His mother,Antrinette, wedged herself in between Deputies and her son to prevent the arrest
She also disobeyed lawful orders by both Deputies and continued to push and shove, at which point Mr. Leggett
put his hands on Deputy Sumrall to push him away. I Deputy Bass, deployed my Taser and hit Mr. Leggett in the
groin area. He immediately fell and still resisted to comply with Deputies commands. I Deputy Bass turned
towards Ms. Leggett to attempt to arrest her at which point she continued to resist and be aggressive.

   Both subjects were arrested for Disorderly Conduct: Failure to Compty and Resisting Arrest. Mr. Leggett was
released to Triple A ambutance service to be transported to Forrest General Hospital. He was post-arrested on
his charges from the incident. Ms. Leggett was taken to the Forrest County Jail and booked in on her charges'

   At that point the dogs stayed at the address with the owner Selena Howard. I Deputy Bass then went to the
Forrest County Justici Court concerning the dogs. I acquired a order of seizure for the dogs to be taken by
Southern pines Animal Shelter on 09-28-2017 as seen in the scanned documents. Ms. Howard is also post-
                                  drd;ai-
arrested for simpte cruelty for the                            Nothing further to reporl at this time.


                                  *****End Of RepOft********t***i*****************'r********************




                                                           Page 3 of 4
                                                                                             CLT-HOWARD.OOO006
            Case 2:19-cv-00084-KS-MTP Document 48-5 Filed 05/26/20 Page 56 of 56



 ,ffi                                     FORREST COUNTY     SHERIFF'$ OFFICE
                                                      SSArena Orivs



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                                                                    Hattio*btrrg MS,39401
                                                                          601-54{-7800


                                                                        ORI #: MS0180000
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                            tdiddle }
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